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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF ILLINOIS

   CALEB BARNETT, et al.,
        Plaintiffs,
                vs.
   KWAME RAOUL, et al.,                      Case No. 3:23-cv-209-SPM
                                             ** designated Lead Case
        Defendants.

   DANE HARREL, et al.,
        Plaintiffs,
                vs.
   KWAME RAOUL, et al.,                      Case No. 3:23-cv-141-SPM
        Defendants.
   JEREMY W. LANGLEY, et al.,
        Plaintiffs,
                vs.
   BRENDAN KELLY, et al.,                    Case No. 3:23-cv-192-SPM
        Defendants.

   FEDERAL FIREARMS
   LICENSEES OF ILLINOIS, et al.,
        Plaintiffs,
                vs.                          Case No. 3:23-cv-215-SPM
   JAY ROBERT “JB” PRITZKER, et al.,
        Defendants.




           REPORT AND DECLARATION OF DR. MARTIN A. SCHREIBER,
                      MD, FACS, FCCM, COL, MC, USAR
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              REPORT AND DECLARATION OF DR. MARTIN A. SCHREIBER

         I, Dr. Martin A. Schreiber, MD, FACS, FCCM, COL, MC, USAR, declare under

  penalty of perjury that the following is true and correct:

         1.      This declaration is based on my personal knowledge and experience, and if I am

  called as a witness, I could and would testify competently to the truth of the matters discussed in

  this declaration.

         2.      I hold my opinions to a reasonable degree of medical and scientific certainty,

  based on my education, training, research and clinical experience, as well as my knowledge of

  relevant medical literature and the application of scientific principles to wounding ballistics.

         3.      Also relevant to the formation of my opinions is my knowledge of accepted

  standards of medical practice as they apply to emergency medicine.

         4.      I further base my opinions on my experience as a trauma surgeon both for military

  and civilian patients and as a soldier who has received weapons training and is required to carry

  weapons on deployment, which I discuss in more detail below. My curriculum vitae, which is

  attached as Exhibit A, documents my educational and professional experience in detail.

         5.      I am being compensated at a rate of $250/hour.

         6.      During the past four years, I have participated as an expert witness in over 30

  cases, the vast majority of which were malpractice cases involving trauma and emergency

  general surgery patients. I have attached a list of cases for which I have provided expert

  testimony in the last four years as Exhibit B.

         7.      I have been retained by the Office of the Attorney General of Illinois to provide

  expert testimony in litigation challenging various aspects of Illinois Public Act 102-1116, also

  known as the Protect Illinois Communities Act. As of the date of this declaration, the scope of



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  my engagement includes providing expert testimony in the following cases: Harrel v. Raoul,

  Case No. 23-cv-141 (S.D. Ill.); Langley v. Kelly, Case No. 23-cv-192 (S.D. Ill.); Barnett v.

  Raoul, No. 23-cv-209 (S.D. Ill.); Federal Firearms Licensees of Illinois v. Pritzker, No.23-cv-

  215 (S.D. Ill.); Herrera v. Raoul, No. 23-cv-532 (N.D. Ill.); Bevis v. Naperville, No. 22-cv-4775

  (N.D. Ill.); and Kenneally, et al., v. Raoul, et al., No. 23-cv-50039 (N.D. Ill.). I have reviewed

  the provisions of Public Act 102-1116 being challenged in this case.

                             BACKGROUND AND QUALIFICATIONS

         8.      I am board-certified in general surgery and surgical critical care and a Colonel in

  the United States Army Reserve. I have been a soldier for nearly 40 years. I joined the United

  States Army Reserves in 1984, completing my Army Officer Basic Training Course at the Silas

  B. Hays Army Hospital in 1985.

         9.      I have been a surgeon in a number of military settings, including Chief of Surgery

  for the 31st Combat Support Hospital and a general surgeon and Medical Director of the Surgical

  Intensive Care Unit at William Beaumont Army Medical Center.

         10.     When the United States went to war in Afghanistan and Iraq, I volunteered for

  active duty and deployment. I was deployed three times, serving in Iraq in 2005 and Afghanistan

  in 2010 and 2014.

         11.     During my deployment to Iraq, I was the Chief of Surgery for the 228th Combat

  Support Hospital in Tikrit, Iraq.

         12.     During my deployments to Afghanistan, I was Director of the Joint Theater

  Trauma System, United States Central Command in Bagram, Afghanistan, and a surgeon with

  the 932nd Forward Surgical Team in Shank, Afghanistan.




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         13.     While deployed, I have cared for countless casualties (in the hundreds), including

  casualties to U.S. service men, soldiers and police of our allies, residents of host nations, and

  enemy combatants.

         14.     As a soldier, I have been required to qualify with a 9mm Beretta handgun on a

  targeted shooting range on numerous occasions. I have also qualified with the M16 assault rifle,

  which bears a close resemblance to an AR-15, on a targeted shooting range. I have also fired an

  M2 50-caliber machine gun on training exercises at Shank, Afghanistan with a special forces unit

  while on deployment in 2014.

         15.     I am also the Chief of the Division of Trauma, Critical Care & Acute Care

  Surgery and Professor of Surgery at Oregon Health & Science University (“OHSU”) as well as

  the trauma medical director. OHSU has the only academic Level 1 trauma center in Oregon. It is

  internationally recognized in trauma research, named among the nation’s best programs by the

  American College of Surgeons. OHSU cares for approximately 4,000 trauma patients per year,

  approximately 8% of whom suffer penetrating injuries. 163 patients injured by gunshot wounds

  were treated at OHSU last year alone.

         16.     As a trauma surgeon at OHSU, I am personally involved in the care of trauma

  patients, including those who have suffered from gunshot wounds, throughout their in-hospital

  care and recovery. I am present at their arrival and accompany them to the intensive care unit or

  operating room as appropriate. I also care for trauma patients on the ward and in clinic, and in

  their late care as needed.

         17.     I received my Bachelor of Arts in Chemistry from the University of Chicago in

  1984 and my Medical Degree from Case Western Reserve University in 1988. I completed a

  surgical internship at the Madigan Army Medical Center in Fort Lewis, Washington and a



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  surgical residency at the University of Washington in Seattle, Washington. I also completed

  fellowship in Trauma and Critical Care at the University of Washington. I am a Fellow in the

  American College of Surgeons and a Fellow of Critical Care Medicine.

          18.     In light of the fact that I have cared for hundreds of patients injured by handguns

  and assault weapons, I am very familiar with how wounds from these weapons differ and their

  relative lethality.

                                               OPINIONS

  I.      The Lethality Of Assault Weapons.

          19.     During each of my three deployments, I was deployed as a surgeon with the

  United States Army. For deployment, the Army required me to qualify on a targeted shooting

  range and carry a 9mm Beretta essentially at all times for self-defense. While I received training

  on other weapons, such as an M16, my Army-issued weapon was a handgun because I was a

  surgeon and needed a weapon for self-defense. The deployed warfighter, by contrast, carried, at a

  minimum, an M4 assault weapon, with the capacity to kill numerous enemy combatants rapidly,

  because the warfighter’s job, unlike the surgeon’s, is to kill the enemy. The U.S. military’s

  judgment that handguns, not assault rifles, are the right weapon for self-defense, while assault

  rifles, not handguns, are the right weapon for killing enemy combatants speaks volumes.

          20.     The lethality of a weapon is primarily determined by the kinetic energy imparted

  by the bullet, the rate at which the weapon fires projectiles (rate of fire), and its effective range

  (the distance at which the weapon can be fired accurately). Kinetic energy is determined by the

  following equation: 1


  1
   Stefanopoulos PK, Mikros G, Pinialidis DE, et al. Wound Ballistics of Military Rifle Bullets:
  An Update on Controversial Issues and Associated Misconceptions. Journal of Trauma and
  Acute Care Surgery. 2019;87:696.

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                                              1
                                          =
                                              2

            21.    The muzzle velocity of an AR-15 is approximately 3200 feet per second 2

  compared to 1200 feet per second for a 9mm Beretta. 3

            22.    The kinetic energy of an AR-15 is approximately 1303 foot pounds 4 compared to

  400 food pounds for a 9mm Beretta. 5

            23.    When a projectile fired from a firearm penetrates the human body, it creates a

  temporary and, eventually, permanent cavity. Holding all else equal, the larger the cavity, the

  more severe the injury.

            24.    The large kinetic energy and force produced from an AR-15-style weapon means

  that a round fired by such a weapon typically creates a relatively large temporary cavity in a

  human body, with devastating effects to tissue and surrounding organs. 6

            25.    Rate of fire is also an important aspect of a firearm’s lethality. A high rate of fire

  means that a shooter is able to deliver the large kinetic energy of a projectile shot by an AR-15

  repeatedly, either to the same victim or to multiple victims, making it possible to increase the

  number of victims and lethality of injuries per event. Assault weapons can fire hundreds of



  2
   “ArmaLite/Colt AR-15,” Military Factory (May 22, 2018),
  https://www.militaryfactory.com/smallarms/detail.php?smallarms_id=383.
  3
   “M9 9mm Beretta Pistol,” FAS Military Analysis Network (Jan. 20, 1999),
  https://man.fas.org/dod-101/sys/land/m9.htm.
  4
   Rhee PM, Moore EE, Joseph B, et al. Gunshot Wounds: A Review of Ballistics, Bullets,
  Weapons and Myths. Journal of Trauma and Acute Care Surgery. 2016;80:856.
  5
   Id. A foot pound is a unit of energy equal to the amount required to raise one pound a distance
  of one foot.
  6
      See Stefanopoulos PK et al., supra, n.1 at 692.

                                                        5
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  rounds per minute in automatic mode. Even in semi-automatic mode, however, the self-

  chambering feature of the weapon allows it to fire dozens of shots per minute. For example,

  unlike a bolt-action hunting rifle, which requires the shooter to pull the bolt back before firing

  each round, an assault weapon allows the shooter to fire each round without manually cycling the

  weapon. Thus, even a firearm with a larger caliber projectile can be less lethal than an assault

  weapon due to its lower rate of fire. When combined with a large-capacity magazine, an assault

  weapon can fire more rounds per minute than a handgun, shotgun, or hunting rifle.

         26.     Semi-automatic assault weapons can be fitted with bump stocks which allow them

  to be fired at a rate of 400 – 800 rounds per minute, significantly increasing their lethality. Bump

  stocks function by utilizing the recoil of the weapon to rapidly trigger the weapon without the

  user having to actively move their finger. The recoil of the weapon produces a back and forth

  motion triggering the weapon. While this modification does not convert a semi-automatic

  weapon to an automatic weapon, it significantly increases its lethality.

         27.     A higher rate of fire creates greater potential lethality, but bullets have to hit their

  target to be lethal. If firearm A sprays 30 bullets and one hits its target, and in the same time

  firearm B sprays 10 bullets and 5 hit, then firearm B is more lethal.

         28.     Assault weapons are also designed to maximize the accuracy and hence lethality

  of the individual shooter. Assault weapons tend to be lightweight and highly maneuverable.

  They are easily carried and can be rapidly and accurately sighted and fired at a target increasing

  their lethality. They also have low recoil, which allows people intent on inflicting mass

  casualties to move around easily before, during, and after shooting the weapon. In addition, due

  to their low recoil, assault weapons allow the shooter to continue firing without having to re-




                                                    6
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  sight (i.e., re-aim) the weapon at the target. Rather, the shooter is able to keep the assault weapon

  still and produce a consistently straight line of fire.

           29.     Assault weapons are highly accurate at great distances. The effective range of an

  AR-15 is approximately 400–500 yards compared to up to 50 yards for a typical handgun. I have

  personally witnessed a soldier instantly killed by an assault weapon fired from hundreds of yards

  away by a single bullet that penetrated his mouth and spinal cord.

           30.     Assault weapons’ combination of high kinetic energy, the ability to fire rounds

  rapidly, deadly accuracy at great distance, a high degree of maneuverability, low recoil, and the

  instability of the projectile—coupled with enhancements to accuracy for an individual shooter—

  results in maximum killing potential.

           31.     This is exemplified by the 2017 Las Vegas shooting, during which a single

  individual was able to fire hundreds of rounds each minute for 11 minutes, killing 58 people and

  wounding over 800 from a 32nd floor suite at a local hotel firing into a crowd at an open-air

  concert at a distance of more than 1,000 feet. 7 According to news reports, the weapons utilized

  were primarily assault weapons utilizing bump stocks allowing them to fire at a rate similar to

  automatic weapons. 8 This was the most lethal mass shooting in U.S. history. Many of the

  doctors, including multiple military surgeons, described the injuries as “injuries you would see in

  a war zone.” 9


  7
   Federal Emergency Management Agency. 1 October After-Action Report of August 24, 2018
  events; Thomas L. Las Vegas Shooting: Answering 4 Common Questions. The Spectrum.
  October 5, 2017.
  8
   Alex Horton. The Las Vegas Shooter Modified a Dozen Rifles to Shoot Like Automatic
  Weapons, The Washington Post (Oct. 3, 2017),
  https://www.washingtonpost.com/news/checkpoint/wp/2017/10/02/video-from-las-vegas-
  suggests-automatic-gunfire-heres-what-makes-machine-guns-different/.
  9
      Tim Craig, ‘Something we would see in a war zone’: Military surgeons on the wounds they

                                                      7
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         32.     While Las Vegas was especially lethal, there are numerous other mass shootings

  that have had devastating effects on communities in mere seconds without the use of bump

  stocks. For example, in Highland Park, Illinois, a single mass shooter armed with a Smith &

  Wesson M&P15, climbed on a roof and killed seven people and injured another 48 with 83 shots

  fired in only a very short period of time. 10 Doctors who were on the scene to enjoy the parade

  with their families, ran toward the victims, encountering a scene that looked like a “war zone.”

  For example, according to press reports and interviews, a local doctor, who provided assistance

  to some of the victims, commented that he saw those killed with “horrific injuries,” the kind that

  “happen when bullets can blow bodies up.” 11 He also saw a horrific traumatic head injury,

  performed CPR on a young child who was severely injured, and described the injuries he

  encountered as those that one would see in war. 12 Doctors, including a trauma surgeon, and

  nurses at the Highland Park Hospital, where victims arrived in the emergency room after the


  treated in Las Vegas, The Washington Post (Oct. 5, 2017),
  https://www.washingtonpost.com/news/post-nation/wp/2017/10/05/something-we-would-see-in-
  a-war-zone-military-surgeons-on-the-wounds-they-treated-in-las-vegas/.
  10
    Dakin Andone, Steve Almasy, & Curt Devine, What we know about the Highland Park
  shooting suspect, CNN (July 7, 2022), https://www.cnn.com/2022/07/05/us/robert-e-crimo-
  highland-park-suspect/index.html; see also The Highland Park shooting suspect is indicted on
  117 charges, NPR (July 28, 2022) https://www.npr.org/2022/07/28/1114207587/the-highland-
  park-shooting-suspect-is-indicted-on-117-charges.
  11
    Phil Rogers, ‘Bodies were down’: Witness breaks down scene of mass shooting at Illinois
  Fourth of July parade, NBC News (July 4, 2022) https://www.nbcnews.com/video/illinois-
  doctor-recalls-moments-he-saw-bodies-down-at-fourth-of-july-parade-shooting-143393349888;
  see also Jason Hanna, ‘Those are wartime injuries’: Doctor describes the horrific scene at the
  Highland Park shooting, CNN (July 5, 2022), https://www.cnn.com/2022/07/05/us/illinois-
  highland-park-shooting-doctor/index.html.
  12
    Id.; see also Brett Chase, At Highland Park Parade Mass Shooting, Doctors Went From
  Watching to Treating the Wounded, Chicago Sun Times (July 8, 2022),
  https://chicago.suntimes.com/2022/7/8/23196922/highland-park-parade-mass-shooting-fourth-
  july-doctors-loren-schechter-dave-baum.

                                                  8
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  shooting, likewise described the wounds they saw on the patients they treated as “war wounds”

  and “devastating.” 13

            33.     The descriptions of the injuries observed during the Las Vegas and Highland Park

  shootings are consistent with my own experience treating wounds caused by assault weapons.

            34.     The differences in wounding capacity between low velocity and high velocity

  weapons or assault rifles observed by myself and other medical personnel are corroborated by

  studies of wounding capability utilizing gelatin. 14 Ballistic gelatin allows the scientific study of

  the behavior of bullets after they strike their target. The consistency of the gelatin is similar to

  muscle tissue. High velocity weapons create larger cavities, simulating greater injuring capacity.

  The stability of the bullet, yaw and rapidity of deceleration and thus energy delivery can all be

  studied accurately.



  II.       Treating Wounds From Assault Weapons.

            35.     As a trauma surgeon in both the civilian and military context, I have personally

  treated hundreds of patients suffering from handgun wounds and assault weapon wounds. 15




  13
    Czink & Bair, ‘They Just Kept Coming’: Highland Park Medical Staff Recalls Parade
  Shooting, WGN TV (July 12, 2022), https://wgntv.com/news/highland-park-parade-
  shooting/they-just-kept-coming-highland-park-medical-staff-recalls-parade-shooting/; see also
  Lisa Schencker, Highland Park Hospital Doesn’t See Many Victims of Gun Violence. Then July
  Fourth Happened. Here’s How the Day Unfolded, Chicago Tribune (Aug. 14, 2022),
  https://www.chicagotribune.com/business/ct-biz-highland-park-hospital-july-4-shooting-
  20220814-3pclhoiv3zcp7itrd2riy6g6wq-story.html.
  14
       See, e.g., Stefanopoulos, et al.
  15
    I was asked to comment on treatment of wounds from .50 caliber cartridges. I have little to
  say about this topic, quite simply because victims hit by .50 caliber cartridges generally die
  before they make it to a treatment facility due to the enormous damage caused by a single shot.

                                                     9
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           36.   The assault weapon wounds that I have seen in a civilian context are identical in

  nature to the wounds that I saw in combat. In combat, I have seen patients with wounds from

  bullets shot from M16 rifles (typically enemy combatants shot with U.S. military rifles). These

  wounds were made by 5.56 NATO cartridges. In the United States, I have also seen civilian

  patients with wounds from bullets shot from AR-15s. Their wounds were identical to the

  wounds made by the M16s. Moreover, these wounds differ substantially from those caused by

  other civilian firearms, notably handguns, both in severity and complexity of injuries and

  complication rates.

           37.   In my experience, assault weapon blasts to the head, neck, or trunk are usually

  lethal, especially in the absence of personal protective equipment like a Kevlar helmet and body

  armor.

           38.   Assault weapon blasts to the abdomen tend to cause greater damage to the

  muscles, bones, soft tissue, and vital organs than handguns. Inside a human body, one assault

  weapon round can destroy organs in a way that looks like an explosion has happened. Bones may

  also be shattered and soft tissue shredded. For example, during my time in Afghanistan I treated

  civilians that were injured when terrorists fired assault weapons at them while waiting in line to

  vote. One civilian had their entire upper left quadrant exploded with a single bullet, destroying

  the pancreas, spleen, and kidney and necessitating partial removal of the pancreas, and the entire

  spleen and kidney.

           39.   Not only do patients with assault weapon injuries frequently have multiple organs

  injured, they also often have major blood vessels or arteries severely damaged. They frequently

  require massive blood transfusions due to tremendous blood loss, and they often require a series

  of operations instead of just one. This is not true with handguns. In my experience, when patients



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  do survive, they typically require prolonged hospitalizations and follow-up, face higher

  complication rates, and suffer much greater disability, which frequently persists for the rest of

  their shortened lives.

          40.     Assault weapon blasts to the extremities frequently result in amputations.

          41.     Due to lower kinetic energy, handgun injuries produce much less harm to the

  human body and are generally survivable unless the bullet penetrates a critical organ or major

  blood vessel. Most lethal injuries from handguns occur from very short distances and, in the

  civilian setting, are suicidal in nature.

          42.     Additionally, a handgun wound is much more likely to affect only one organ as

  compared to multiple organs, unlike with wounds caused by assault weapons.

          43.     In my experience, many patients with handgun injuries have minor injuries that

  do not require any surgery, and they are discharged from the emergency department. Patients

  with handgun injuries who require operative therapy have a very high survival rate.

          44.     Assault weapons are designed for the purpose of maximum killing in wartime

  settings. They are deadly accurate weapons with enormous destructive capacity. The mass

  casualties produced by assault weapons frequently exceed the capacity of civilian trauma

  systems and trauma surgeons to treat and have a very high mortality rate.




                                                   11
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         Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury under the laws of the

  United States of America that the foregoing is true and correct.



         Executed on May 30, 2024 at Lake Oswego, Oregon.




                                               /s/                         MD FACS FCCM




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                                CURRICULUM VITAE
                         MARTIN A. SCHREIBER, MD FACS FCCM
                                 UPDATED 05/20/2024


     Personal Information

           Home Address:                                11 Garibaldi Street
                                                        Lake Oswego, OR 97035
           Business Phone:                              (503) 494-7883
           Business Fax:                                (503) 494-6519
           Business Address:                            Trauma, Critical Care and Acute
                                                        Care Surgery Division
                                                        Oregon Health & Science University
                                                        3181 SW Sam Jackson Park Road
                                                        Mail Code L611
                                                        Portland, OR 97239
           Birthdate:                                   4/24/62
           Birthplace:                                  Cleveland, OH

     EDUCATION

           University of Chicago - Chicago, Illinois 1980-1984
           Bachelor of Arts - Chemistry

           Case Western Reserve University - Cleveland, OH 1984-1988
           Medical Degree

     RESIDENCY TRAINING

            Surgical Internship - Madigan Army Medical Center Fort Lewis, WA 1988-1989
            Surgical Residency - University of Washington Seattle, WA 1989 - 1993
            Chief Residency - University of Washington Seattle, WA 1993 - 1994

     FELLOWSHIPS

            Trauma and Critical Care - University of Washington Seattle, WA 1994- 1995

     BOARD CERTIFICATION

         Federal Licensure Examination - 1989
         Qualifying Examination of the American Board of Surgery - 10/94
         Certifying Examination of the American Board of Surgery - 6/95
          Examination for Certification of Added Qualifications in Surgical Critical Care -
          10/96
     APPOINTMENTS
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           Acting Instructor - Dept of Surgery, University of Washington, 7/94-6/95
           Assistant Professor of Surgery - Texas Tech University Health Science
           Center, 3/96-10/99
           Clinical Assistant Professor of Surgery - Uniformed Services University of the
           Health Sciences, 2/96-Present
           Assistant Professor of Surgery – Baylor College of Medicine, 10/99-11/01
           Professor of Surgery – Oregon Health & Science University, 7/08-Present
           Major United States Army Reserve 2004 – 2007
           Lieutenant Colonel United States Army Reserve 2007- 2012
           Colonel United States Army Reserve 2012 – Present
           Professor Physiology and Pharmacology – Oregon Health & Science University,
           2014 – Present
           Senior Scientist in the OHSU Center for Regenerative Medicine under the Senior
           Vice President for Research, 2014 – Present
           Adjunct Professor of Surgery, Uniformed Services of the Health Sciences, 2021 -
           Present

     LICENSURE

           To Practice Medicine in the State of Oregon – MD23540

     MILITARY TRAINING

           Army Officer Basic Course - Silas B. Hays Army Hospital Fort Ord, California
           1985
           US ARMY Airborne Course - Fort Benning, GA 1986
           ATLS - Fort Sam Houston, TX 1989
           ATLS Instructor - Fort Carson, CO 1996
           ATLS Director - Fort Sam Houston, TX 1997
           ATLS State Faculty – WBAMC 1999
           Armed Forces Combat Casualty Care Course - Fort Sam Houston, TX 1989
           Instructor Bushmaster Course - Camp Bullis, TX 1996
           Combat Trauma Surgical Team - Ben Taub General Hospital September 1998
           Commander Combat Trauma Surgical Team – Ben Taub General Hospital
           February 1999
           Director Army Military Civilian Trauma Team Training Program (AMCT3)–
           Oregon Health & Science University 2018 - Present

     PROFESSIONAL SOCIETY MEMBERSHIPS

           Alpha Omega Alpha Honor Society
           American College of Surgeons - Fellow
           Washington State Chapter of the American College of Surgeons 1994-1995
           The Henry N. Harkins Surgical Society
           Associate Member of the American College of Surgeons Washington
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           Committee on Trauma 1994-1995
           Member of Harborview Medical Center Trauma Council 1994-1995
           Eastern Association for the Surgery of Trauma
           American Association for the Surgery of Trauma
           American Trauma Society
           Association for Academic Surgery – Active Member
           Society of Critical Care Medicine
           The Shock Society
           Oregon State Chapter of the American College of Surgeons
           President – Oregon Chapter of the Society of Critical Care Medicine 2003 – 2004
           Western Trauma Association
           Society of University Surgeons
           Secretary - Treasurer Portland Surgical Society 2004 - 2008
           Pacific Coast Surgical Association
           North Pacific Surgical Association
           President - Portland Surgical Society 2008 – 2009
           Society of Clinical Surgeons
           American Surgical Association
           Western Surgical Association
           International Surgical Society
           International Association for Trauma Surgery and Critical Care


     COMMITTEE MEMBERSHIPS

           Special Care Line Action Team - William Beaumont Army Medical Center 1995-
           1999
           Chief, Trauma Committee – William Beaumont Army Medical Center 1997-
           1999
           Human Use Subcommittee - William Beaumont Army Medical Center 1995-
           1999
           Institutional Animal Care and Use Committee – William Beaumont Army
           Medical Center 1995-1999
           Breast Cancer Prevention and Detection Action Team, Military Region VII 1995-
           1996
           Trauma Research Program - William Beaumont Army Medical Center 1996-
           1999
           Far West Texas and Southern New Mexico Regional Area Council on Trauma
           1996-1999
           Chairman Hospital Audit Committee of the Far West Texas and Southern New
           Mexico Regional Area Council on Trauma 1997-1999
           Executive Board of the Far West Texas and Southern New Mexico Regional Area
           Council on Trauma 1997-1999
           Research Committee - R. E. Thomason General Hospital 1997-1999
           Military Combat Trauma Surgical Committee 1997-1999
           Publication Committee for Gary P. Wratten Surgical Symposium 1999
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           Chairman, Trauma Morbidity and Mortality Committee Ben Taub General
           Hospital 1999 – 2001
           Trauma Executive Committee Ben Taub General Hospital 1999 – 2001
           Pharmacy and Therapeutic Committee Harris County Hospital District 1999 –
           2001
           Southeast Texas Regional Advisory Committee 1999 – 2001
           Process Improvement Subcommittee of the Southeast Texas Trauma Regional
           Advisory Committee 1999 – 2001
           Chairman of the Grants Committee of the Southeast Texas Trauma Regional
           Advisory Committee 2000 – 2001
           Trauma Center Grant Steering Committee – Baylor College of Medicine 2000 –
           2001
           Baylor College of Medicine’s Graduate Medical Education Committee 2000 –
           2001
           American College of Surgeons South Texas Committee on Trauma 2001
           Member of the Policy on House Staff Review Subcommittee of the Baylor
           College of Graduate Medical Education Committee 2001
           Residency Internal Review Subcommittee of the Baylor College of Medicine’s
           Graduate Medical Education Committee 2001
           Eastern Association for the Surgery of Trauma Practice Guideline Committee on
           Endpoints of Resuscitation 2001 – 2003
           Trauma Committee – Oregon Health & Science University 2002 – Present
           Trauma Peer Review Subcommittee - Oregon Health & Science University 2002
           – Present
           Department of Surgery Peer Review Committee – Oregon Health & Science
           University 2002 - Present
           Eastern Association for the Surgery of Trauma Practice Guideline Committee on
           Hypothermia 2002 – 2004
           Oregon Committee on Trauma 2002 – Present
           Restraint and Seclusion Committee – Oregon Health & Science University 2002
           – 2004
           ICU Executive Management Committee – Oregon Health & Science University
           2002 – 2014
           Radiology Task Force Committee – Oregon Health & Science University 2003
           Faculty Senate – Oregon Health & Science University 2003 - 2006
           Data Safety Monitoring Board - Dr. Eileen Bulger, The Effect of Hypertonic
           Resuscitation for Blunt Trauma. IND Number: 10292 2003 - 2005
           Area Trauma Advisory Board One in Oregon 2003 - 2005
           Oregon State Trauma Advisory Board 2004 – Present
           Research Committee – Oregon Health & Science University 2004 – Present
           Sedation Oversight Committee - Oregon Health & Science University 2005 –
           2007
           Eastern Association for the Surgery of Trauma Publications Committee 2005 –
           2007
           Publications Committee - Western Trauma Association 2005 - 2007
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           Steering Committee for the U.S. Army Institute of Surgical Research Clinical
           Trials Program, U.S. Army Medical Research and Materiel Command, Fort
           Detrick, Maryland 2005 - Present
           Eastern Association for the Surgery of Trauma Taskforce on Research Related
           Issues 2006 –2010
           State Chair for the Oregon Committee on Trauma 2006 – 2012
           American College of Surgeons Committee on Trauma 2006 – 2018
           Transfusion Committee – Oregon Health & Science University 2006 – 2008
           American College of Surgeons Subcommittee on ATLS 2006 – Present
           Clinical Resource Management Committee – Oregon Health & Science
           University 2010 - Present
           American College of Surgeons Ad Hoc Committee on Trauma System Evaluation
           and Planning 2006 – Present
           8CSI Best Practice Committee – Oregon Health & Science University 2006 –
           2009
           Oregon State Trauma Advisory Board Legislative Subcommittee 2006 - Present
           Trauma Audit Group, Area Trauma Advisory Board 1 2006 – Present
           Dean’s Pathology Advisory Group – Oregon Health & Science University 2007
           Eastern Association for the Surgery of Trauma Military Committee 2007 –
           Present
           Chairman of the Eastern Association for the Surgery of Trauma Task Force on
           Research Related Issues 2008 – 2011
           American Association for the Surgery of Trauma Acute Care Surgery Committee
           2009 – Present
           Western Trauma Association Program Committee 2009 – 2010
           OHSU Department of Surgery Promotion and Tenure Committee 2009 – Present
           Department of Surgery Quality Executive Committee 2008 – Present
           Eastern Association of Trauma Practice Management Guidelines Committee
           2010 – 2011
           Promotion and Tenure Committee, Department of Surgery – Oregon Health &
           Science University 2010 – Present
           Clinical Resource Management Committee – Oregon Health & Science
           University 2010 - Present
           Eastern Association for the Surgery of Trauma – Nominations Committee 2011
           Chairman of the ICU Management Committee – Oregon Health & Science
           University 2011 – 2013
           American Association for the Surgery of Trauma Ad Hoc Educational
           Development/MOC Committee 2011 – 2013
           Chief, Region X Committee on Trauma 2012 – Present
           Western Trauma Association Board of Directors 2013 - 2016
           Trauma Center Association of America Board of Directors 2013 – Present
           Oregon District #1 Committee on Applicants of the American College of
           Surgeons 2014 – Present
           Board of Governors of the American College of Surgeons 2014 – 2020
           Shock Society – Publications Committee, 2015 – Present
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           Patient Blood Management Standards Committee, American Association of
           Blood Banks, 2016 – 2019
           Committee on Surgical Combat Casualty Care, 2016 – Present
           Vice-Chair Grassroots Advocacy Engagement Workgroup, American College of
           Surgeons, Board of Governors, 2016 – 2017
           Chair Grassroots Advocacy Engagement Workgroup, American College of
           Surgeons, Board of Governors, 2017 – 2019
           Chairman Military-Civilian Subcommittee, Trauma Center Association of
           America, 2017 – 2019
           Chairman Advocacy Committee, Board of Governors, American College of
           Surgeons, 2019 - 2020
           Member Blood Product Advisory Council, FDA, 2018 – 2023
           Member Tactical Combat Casualty Care Subject Matter Expert Panel, 2018 –
           Present
           Chairman, Research Committee, Committee on Surgical Combat Casualty Care
           2019 - Present
           Chairman Trauma Center Association of America, 2020 – 2022
           Chairman Donald D. Trunkey Center for Civilian and Combat Casualty Care
           Executive Committee, 2020 – Present
           Committee on Accelerating Progress in TBI Research and Care, National
           Academy of Science, Engineering and Medicine, 2020 – 2021
           Clotting Anticoagulation Transfusion Committee, OHSU, 2022 – Current
           Program Committee, Western Trauma Association, 2022 - Current
           American Association of Blood Banks Out of Hospital and Prehospital Standards
           Committee, 2023 - Curent


     POSITIONS HELD

           Chief, Dept of Surgery, Joint Task Force – Bravo Honduras, C.A. 1997
           Chief of Surgery 31st Combat Support Hospital 1998 - 1999
           General Surgery Staff- William Beaumont Army Medical Center, Medical
           Director of the Surgical Intensive Care Unit and Chief of Trauma William
           Beaumont Army Medical Center 1995-1999
           General Surgery Staff – Ben Taub General Hospital 1999 - 2001
           Trauma Medical Director, Ben Taub General Hospital 1999 – 2001
           General Surgery Staff – Oregon Health & Science University 2002 - 2003
           Director of Surgical Critical Care, Oregon Health & Science University 2002 –
           2007
           Program Director of the Surgical Critical Care Fellowship, Oregon Health &
           Science University 2003 - 2010
           Surgeon - International Medical Surgical Team West 2004 - Present
           Chief of Trauma, 228th Combat Support Hospital – Tikrit, Iraq 2005
           Chief of Trauma and Surgical Critical Care, Oregon Health & Science University
           2007 – 2009
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           Chief and Founder Division of Trauma, Critical Care and Acute Care Surgery,
           Oregon Health & Science University 2009 – Present
           Director of Adult ICUs, Oregon Health & Science University 2010 – 2014
           Director of the Joint Theater Trauma System, United States Central Command in
           Iraq and Afghanistan stationed in Bagram, Afghansitan 2010
           Surgeon, 932nd Forward Surgical Team, Shank, Afghanistan 2014
           Director Donald D. Trunkey Center for Civilian and Combat Casualty Care 2020
           – Present
           Chair, Division Chief search for Transplant Surgery at OHSU 2022
           International Faculty for the Definitive Surgical Trauma Care Course 2023 -
           Present
           National Director of the Definitive Surgical Trauma Care Course 2023 - Present


     HONORS AND AWARDS

           High School - National Honor Society
           Undergraduate - Dean’s List 1980 - 1984
           Graduated from University of Chicago With Honors 1984
           Effects of IL - 2 and IFN on Hepatic Metastases - American Cancer Society
           Student Fellowship 1988
           Lubrizol Award for Excellence in Patient Care - Case Western 1988
           Henry N. Harkins Award for Excellence in Preparation of the Annual Residents’
           Paper - Washington State Chapter of the ACS 1989
           Bulldog Award - Children’s Hospital 1992
           Joint Service Commendation Award - Honduras 1997
           Army Achievement Medal - For being WBAMC's Project Officer for the Ben
           Taub Combat Trauma Surgical Training Program 1999
           Army Achievement Medal - Quality Improvement Award 1999
           Army Achievement Medal - For Patient Care 1999
           Meritorious Service Medal – For Establishing a Verified and Designated Level 2
           Trauma Center at William Beaumont Army Medical Center 1999
           National Leadership Award – Honorary Co-Chairman of The Physician’s
           Advisory Board 2001
           Army Commendation Medal – For Service as Chief of Trauma of the 228th CSH
           Tikrit, Iraq 2005
           Iraqi Campaign Medal – For Service in Operation Iraqi Freedom 2005
           Army Reserve Medal with M device – For 10 years of service in the Army
           Reserves with Mobilization to Iraq 2005
           American Association for the Surgery of Trauma Honorary Medal for Combat
           Surgical Care 2005
           Meritorious Unit Commendation Award – For Meritorious Service of the 228th
           Combat Support Hospital During Operation Iraqi Freedom III 2006
           Oregon Health & Science University Faculty Senate Certificate of Appreciation,
           In recognition of vision, leadership and support of the faculty 2006
           Veterans of Oregon Honorable Service Medal 2006
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           Distinguished Faculty Award – Oregon Health & Science University Dept of
           Surgery 2007
           World Journal of Surgery Best Paper of 2007 – Coagulopathy: Its
           Pathophysiology and Treatment in the Injured Patient
           Portland Monthly Magazine Top Doctors 2010, 2012, 2013
           Non-Article 5 NATO Medal for Service with NATO in Relation to International
           Security Afghanistan Forces August 2010
           Afghanistan Campaign Medal in Recognition of Service in the Country of
           Afghanistan in Direct Support of Operation Enduring Freedom August 2010
           Global War on Terrorism Service Medal-For support of the Global War on
           Terrorism August 2010
           Joint Service Commendation Medal-For Meritorious Service Rendered During
           Operation Enduring Freedom August 2010
           Certificate of Achievement-Task Force 62 Medical-For Outstanding Performance
           while Serving as Director, Joint Theater Trauma System, United States Central
           Command in Iraq and Afghanistan August 2010
           The “A” Proficiency Designator in recognition of outstanding qualification in the
           field of General Surgery and continued demonstration of exceptional professional
           ability June 2011
           Marquam Hill Faculty Teaching Award – Oregon Health & Science University,
           Department of Surgery 2011
           Professional Staff Chair’s Award for Outstanding Contributions to Development of
           Interdisciplinary Teams – Oregon Health & Science University 2011
           Inducted into The Order of Military Medical Merit for Distinguished Military
           Service September 2012
           Army Achievement Medal for meritorious service while serving as a Burn
           Surgeon at the US Army Institute of Surgical Research 2013
           Army Commendation Medal for exceptionally meritorious service as a General
           Surgeon while deployed in support of Operation Enduring Freedom June 2014
           Afghanistan Campaign Medal in Recognition of Service in the Country of
           Afghanistan in Direct Support of Operation Enduring Freedom June 2014
           Technology Transfer & Business Development Award for Oregon Procedure
           Quality Reporting System (OPQRS) and Healthcare Team Learning Management
           Platform October 2015
           Asmund S. Laerdal Memorial Lecture Award for Extensive Involvement in
           Resuscitation Research and Publishing. Society of Critical Care Medicine
           February 2016
           Journal of Trauma – Outstanding Reviewer Award, 2016
           Marquam Hill Distinguished Service Award – Oregon Health & Science
           University Dept of Surgery 2017
           2018 Lifetime Achievement Award in Trauma Resuscitation Science – American
           Heart Association
           Meritorious Service Medal for Creating the Army Military Civilian Trauma
           Training Team at OHSU 2019
           OHSU Continuing Professional Development Clinical Star Award 2018 – 2019,
           Awarded 2020
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           Robert Danis Prize – Given to the surgeon, author of the most important and
           personal work in connection with surgical treatment of fractures (orthopedic
           treatment excluded) and in connection with techniques, clinics or experimentation
           of fracture treatment and with the pathophysiology of trauma in general. 2022
           John. P. Pryor, MD FACS Distinguished Service Award in Military Casualty
           Care. 2023
           Henry Harkins Distinguished Alumnus Award – University of Washington 2023

     EDITORIAL BOARD MEMBERSHIPS

           Journal of Trauma and Acute Care Surgery
           Shock
           Current Trauma Reports – 2017 – 2019
           PLOS Medicine

     AD HOC REVIEWER FOR JOURNALS

           Critical Care Medicine
           Pediatric Blood and Cancer
           World Journal of Surgery
           Anesthesiology
           Journal of the American College of Surgeons
           Journal of Thrombosis and Hemostasis
           New England Journal of Medicine
           Resuscitation
           Critical Care
           Annals of Surgery
           American Journal of Surgery
           Transfusion
           Injury
           Plos One
           JAMA Network Open

     INSTRUCTOR COURSES

           Advanced Trauma Life Support – National Faculty
           Definitive Surgical Trauma Care Course – Course Director
           Definitive Surgical Trauma Care Couse – International Faculty
           Stop the Bleed
           Fundamental Critical Care Support

     REVIEWER FOR GRANTS

           American Institute of Biological Sciences
           NIH Surgery, Anesthesia, Trauma Review Section, Special Member
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            ZRG1 ETTN-U 82 S, Special Topics: USU Intramural High Priority Research
            Awards, National Institutes of Health, Bethesda, MD


     MEMBER DATA SAFETY MONITORING BOARD

            The Effect of Hypertonic Resuscitation for Blunt Trauma, Primary Investigator -
            Dr. Eileen Bulger, IND Number: 10292.

            Chair DSMB, Control of Major Bleeding after Trauma (COMBAT) Study: A
            Prospective Randomized Comparison of Fresh Frozen Plasma Versus Standard
            Crystalloid Intravenous Fluid for Initial Resuscitation. Primary Investigator – Dr.
            Eugene Moore.

     ONGOING RESEARCH SUPPORT

     US Army Medical Research Acquisition Activity W81XWH-14-2-0003 Gregory (PI)
     Armed Forces Institute for Regenerative Medicine (AFIRM) II Program
     The goal of this study is determine the efficacy of infused bone marrow derived stem
     cells on regeneration of muscle tissue in patients with compartment syndrome.
     Role on Project: Co-investigator (2014 – 2023)

     BA150560 US Army Medical Research Acquisition Activity
     Mesenchymal Stem Cells for the Prevention of Acute Respiratory Distress
     Syndrome after Pulmonary Contusion and Hemorrhagic Shock.
     The goal of this research is to determine if mesenchymal stem cells infused
     intravenously can prevent ARDS in a model of hemorrhagic shock and unilateral
     pulmonary contusion.
     Role on Project: Principal Investigator (2016 – 2023)

     DM160342 US Army Medical Research Acquisition Activity
     Prothrombin Complex Concentrate for Prolonged Field Care of War Casualties
     The purpose of this research is to determine of prothrombin complex concentrate can
     prevent ARDS in a swine model of hemorrhagic shock and pulmonary contusion.
     Role on Project: Principal Investigator (2017 – 2024)

     W81XWH-16-R-0033 Department of Defense, Joint Program Committee-6 Combat
     Casualty Care.
     Linking Investigations in Trauma and Emergency Services (LITES)
     The purpose of this research is to create a network of trauma centers to execute trauma
     research of interest to the Department of Defense.
     Role on Project: Co-Principal Investigator (2016 – 2023)

     RFA-NS-16-016 NIH
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     Network for Emergency Care Clinical trials: Strategies to Innovate Emergency
     Care Clinical Trials Network (SIREN) – Network Clinical Center (HUB) (U24)
     This is a network of major medical centers designed to execute NIH funded trials in the
     areas of emergency medicine and trauma.
     Role on Project: Trauma Principal Investigator (2017 – 2023)

     W81XWH-17-1631 US Army Medical Research and Materiel Command
     Mesenchymal Stem Cells for Treatment of ARDS Following Trauma
     This is a multicenter randomized trials comparing mesenchymal stem cells to placebo for
     the treatment of ARDS in critical care patients.
     Role on Project: Site Principal Investigator (2017 – 2020)

     CSL Behring
     Prothrombin Complex for the Treatment of Prehospital Traumatic Hemorrhagic
     Shock
     This is an investigator initiated multicenter trial comparing prothrombin complex
     concentrate to placebo for the prehospital care of patients with traumatic hemorrhagic
     shock. Role on Project: Principal Investigator (2017 – 2021)

     COMPLETED RESEARCH SUPPORT

     US Army Medical Research and Materiel Command DAMD17-01-1-0693
     1999-2001
     The Effect of Recombinant Factor VIIa and Fibrinogen on Bleeding from Grade V
     Liver Injuries in Coagulopathic Swine
     This study is designed to evaluate the efficacy of Factor VIIa in swine models of
     hemorrhagic shock.
     Role on Project: Principal Investigator (1999 – 2001)

     5 M01 RR00334 (GCRC-772)
     Coagulation Parameters after Splenectomy in Trauma Patients
     This study is designed to determine the effects of splenectomy on coagulation parameters
     both early after injury and at 6 weeks.
     Role on Project: Principal Investigator (2005 – 2008)
     Office of Naval Research
     The Characterization of a Novel Fibrinogen Hemostatic Agent in Animal Models
     This study is designed to test the efficacy of a novel fibrinogen agent in stopping
     bleeding from a rat liver injury.
     Role on Project: Co-Investigator (2006 – 2008)
     Entek Manufacturing, Inc.
     The Efficacy of a Novel Hemostatic Bandage for Control of Hemorrhage from a
     Severe Grade V Liver Injury in Swine.
     The purpose of this study is to test the efficacy of a new highly porous, silica based
     dressing in stopping bleeding from a Grade V Liver Injury in Swine
     Role on Project: Primary Investigator (2006 – 2008)
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     SAM Medical                                                                        2009
     A Comparison of Hemostatic Dressings in a Severe Groin Injury Model in Swine
     The purpose of the proposed study is to perform a randomized controlled trial comparing
     Combat Gauze to Celox-Gauze to Celox-D to standard gauze for hemorrhage control of a
     severe groin injury created in Yorkshire crossbred swine
     Role on Project: Principal Investigator (2009)
     U. S. Army Medical Research and Materiel Command W81XWH-04-1-0104
     The Effect of Hypotensive Resuscitation and Fluid Type on Mortality, Bleeding,
     Coagulation and Dysfunctional Inflammation in a Swine Grade V Liver Injury
     Model
     The purpose of this study is to determine the optimal resuscitation strategy in terms of
     resuscitation endpoints and fluids in an uncontrolled hemorrhage model in swine.
     Role on Project: Principal Investigator (2003 – 2011)
     5 M01 RR00334 (GCRC-946)
     Can TEG be used in place of anti-factor Xa levels to assess enoxaparin levels in
     patients with co-morbidities?
     This project is designed to determine if thrombelastograms can be used to determine the
     effect of lovenox in a diverse patient population to include patients with renal failure and
     obesity
     Role on Project: Principal Investigator (2005 – 2011)
     U.S. Army Medical Research Acquisition Act W81XWH-08-C-0712 (subcontract)
     Prospective Observational Multicenter Massive Transfusion Study (PROMMTT)
     The purpose of this study is to observe and document clinical practice for major trauma
     patients admitted to the ED who are at risk of massive transfusion.
     Role of project: Site Principal Investigator, Chairman of the Publication Committee
     (2009 – 2012)
     US Air Force Material Command/AFMC FA8650-09-2-6047
     Efficacy and Safety of Frozen Blood for Transfusion in Trauma Patients
     The purpose of this study is to evaluate tissue oxygenation, nitric oxide, and morbidity
     and mortality with use of cryopreserved blood compared to standard blood.
     Role of project: Principal Investigator (2009 – 2012)
     Medical Research Foundation of Oregon
     Thrombelastography-Based Dosing of Enoxaparin for Thromboprophylaxis: A
     Prospective Randomized Trial
     This project is designed to determine if thrombelastograms can be used to determine the
     effect of lovenox in a diverse patient population to include patients with renal failure and
     obesity.
     Role on project: Co-Investigator (2005 – 2012)

     US Air Force Material Command/AFMC FA8650-10-2-6143
     Efficacy and Safety of Frozen Blood for Transfusion in Trauma Patients – A Multi-
     Center Trial
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     The purpose of this study is to evaluate tissue oxygenation, nitric oxide, and morbidity
     and mortality with use of cryopreserved blood compared to standard blood at 6 clinical
     sites.
     Role of project: Principal Investigator (2010 – 2014)
     CORA/MED
     Trauma Equivalency Study of the CORA® and TEG® 5000 Systems
     The purpose of this study is to compare the novel CORA (Coagulation Resonance
     Analyzer) system with the standard commercially available TEG 5000 system in trauma
     patients with a broad variety of coagulopathies.
     Role on Project: Primary Investigator (2015)

     Thrombelastography (TEG) Based Dosing of Enoxaparin for Thromboprophylaxis:
     A Prospective Randomzed Trial This is a multicenter prospective randomized trial
     designed to determine if TEG based dosing of enoxaparin is superior to standard dosing
     with respect to a reduction of thromboembolic complications without an increase in
     bleeding complications. Role on Project: Principal Investigator (2011-2015)

     U01 HL077863-06S2 National Institute of Health Lung and Blood Institute (NIHLBI)
     Holcomb (PI)
     Prospective, Randomized Optimal Platelet and Plasma Ratios (PROPPR)
     This is a multi-center project being performed in a prospective randomized format
     comparing the efficacy and safety of plasma, platelets and packed red blood cells given
     in a 1:1:1 ratio versus a 1:1:2 ratio.
     Role on Project: Primary Investigator, OHSU (2011 – 2016)

     1549586 National Science Foundation (NSF)
     Tissue Factor-Impregnated Dressing for Hemorrhage Control
     The goal of this research is to determine if the utilization of tissue factor as a
     procoagulant on gauze is superior to dressings currently in use for hemorrhage control.
     Role on Project: Principal Investigator (2016)

     HL-04-001, National Heart, Lung and Blood Institute (NHLBI) Daya (PI)
     Portland Emergency Prehospital Investigative Consortium (EPIC)
     This is a multicenter trial designed to conduct a series of studies related to the initial
     management of trauma and cardiac arrest patients.
     Role on Project: Trauma Primary Investigator (2004 – 2018)

     U10 National Institutes of Neurological Disorders and Stroke (NINDS) Barsan (PI)
     Brain Research/Acute Interventions: Neurological Emergencies Treatment Trial
     This is a multicenter project designed to perform pivotal trials evaluating therapeutics
     with the potential to improve outcomes after neurological emergencies.
     Role on project: Co-Investigator (2009 – 2018)

     US Army Medical Research Acquisition Activity ERMS #1333504
     Prehsopital Tranexamic acid Use for Traumatic Brain Injury
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     This is a multi-center project designed to determine the efficacy of tranexamic acid in
     improving outcomes after traumatic brain injury.
     Role on Project: Clinical Principle Investigator (2013 – 2018)

     HHSN263210300003C National Institutes of Health (NIH)
     Predictors of Post-Traumatic Stress Disorder
     This is a multi-center study that is designed to identify patients who are at risk for
     developing PTSD. This study includes an epigenetic component seeking to find
     biochemical markers predictive of the development of PTSD.
     Role on Project: Primary Investigator (2013 – 2018)

     U01 HL077863 National Heart Lung and Blood Institute (NHLBI) May (PI)
     Prehospital Resuscitation on Helicopter Study
     This is a prospective, observational, multi-center trial designed to determine the benefits
     of delivering blood products in the pre-hospital setting during air transport. Air
     ambulances that carry blood products will be compared to those that do ot.
     Role on Project: Primary Investigator, OHSU (2014 – 2018)

     Grifols Investigator Sponsored research
     Is Anti-Thrombin III Deficiency Associated with Deep Vein Thrombosis in Surgical
     and Trauma Patients?
     This is a prospective observational study designed to determine if anti-thrombin III is
     associated with deep vein thrombosis in trauma patients.
     Role on Project: Primary Investigator (2015 – 2018)

     Trauma/Critical Care Fellows Trained

            1. Samual Rob Todd, MD 2002 - 2003
            2. Danetta Sue Slone, MD 2002 - 2003
            3. Jennifer Watters, MD 2004 - 2005
            4. Miko Enomoto, MD 2004 – 2005
            5. Bruce Ham, MD 2005 – 2006
            6. Nicole Vanderhayden, MD PhD 2005 – 2006
            7. Susan Rowell, MD 2006 – 2007
            8. Laszlo Kiraly, MD 2006 – 2007
            9. Arvin Gee, MD 2007 – 2008
            10. David Shapiro, MD 2007 – 2008
            11. Richard Nahouraii, MD 2008-2009
            12. Stephanie Gordy, MD 2008-2009
            13. Carrie Allison, MD 2008-2009
            14. Michael Englehart, MD 2009-2010
            15. Dan Anderson, MD 2009-2010
            16. Mary Claire Sarff, MD 2009-2010

     Laboratory Residents Mentored
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           1. Jennifer Watters, MD 2003 - 2004
           2. Rebecca Sawai, MD 2004 - 2005
           3. Tracy Wiesberg, MD 2004 – 2005
           4. Laszlo Kiraly, MD 2005 – 2006
           5. Brandon Tieu, MD 2005 – 2007
           6. Michael Englehart, MD 2005 – 2007
           7. Arvin Gee, MD 2006 – 2007
           8. Melanie Morris, MD 2006 – 2007
           9. David Cho, MD 2006 – 2008
           10. Carrie Hink, MD 2007 – 2008
           11. Karen Zink, MD 2007 – 2008
           12. Chitra Sambasivan, MD 2008 – 2009
           13. Nicholas Spoerke, MD 2008 – 2009
           14. Philbert Van, MD 2008 – 2010
           15. Modjgan Keyghobadi, MD 2009 – 2010
           16. Gordon Riha, MD 2010 – 2011
           17. Nicholas Kunio, MD 2010 – 2011
           18. Tim Lee, MD 2011 – 2013
           19. Jeffrey Barton, MD 2011 – 2012
           20. Loic Fabricant, MD 2011 – 2012
           21. David Hampton, MD 2012 – 2013
           22. Sean McCully, MD 2012 – 2014
           23. Scott Louis, MD 2012 – 2013
           24. Alexis Moren, MD 2013 – 2014
           25. Kelly Fair, MD 2013 – 2014
           26. David Martin, MD 2013 – 2015
           27. Mackenzie Cook, MD 2013 – 2014
           28. Vicente Undurraga, MD 2013 – 2015
           29. Christopher Connelly, MD 2014 – 2015
           30. Davis Yonge, MD 2014 – 2015
           31. Justin Watson, MD 2014 - 2015
           32. Aravind Bommiasamy, MD 2015 – 2016
           33. Brandon Behrens, MD 2016 – 2017
           34. Sawyer Smith, MD 2016 – 2018
           35. Alix Dixon, MD 2018 – 2019
           36. Sarayu Subramania 2019 – 2021
           37. Marissa Beiling, MD 2021 – 2022
           38. Samantha Durbin, MD 2022 – 2023
           39. Lindsey Loss, MD 2023 – 2024
           40. Luis Tinoco – Garcia 2023 - 2024

     Laboratory Fellows and Post-Docs Mentored

           1. Modjgan Keyghobadi, MD 2004 – 2006
           2. Ayhan Karahan, MD 2006 – 2007
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           3.   Gopal Singh, MD 2007 – 2008
           4.   Igor Kremenevskiy, MD, PhD 2008-2012
           5.   Dinh-Tuan Le, MD 2012
           6.   Belinda McCully, PhD 2012 – 2018
           7.   Amonpon Kanlerd, MD 2018 – 2019
           8.   Michael Kolesnikov, 2020 - Present

     PUBLICATIONS

        1. Samuels, R. Schreiber MA, Patel, N, Hemobilia After a Gunshot Injury to the
           Liver. American Journal of Radiology 1996; 166:1304.

        2. Schreiber MA, Gentilello LM, Rhee P, Jurkovich GJ, Maier RV, Limiting
           Computed Tomography to Patients With Peritoneal Lavage Positive Results
           Reduces Cost and Unneccessary Celiotomies in Blunt Trauma. Arch Surg 1996;
           131:954-959.

        3. Schreiber MA, Gentilello LM, Rhee P, Jurkovich GJ, Maier RV, Blunt Trauma:
           Limiting CT to Patients with Peritoneal Lavage, Reducing Costs and Unnecessary
           Celiotomies. Chirurgia International 1997;4:14-16.

        4. Schreiber MA, Pusateri AE, Veit BC, Smiley RA, Morrison CA, Harris A,
           Timing of Vaccination Does not Affect Antibody Response or Survival Following
           Pneumococcal Challenge in Splenectomized Rats. The Journal of Trauma 1998;
           45:692-699.

        5. Morrison CA, Schreiber MA, Olsen SB, Hetz SP, Acosta MM, Femoral
           Venous Flow Dynamics During Intraperitoneal and Preperitoneal Laparoscopic
           Insufflation. Surgical Endoscopy 1998; 12: 1213-1216.

        6. Nessen S, Holcomb JB, Tonkinson B, Hetz SP, Schreiber MA, Early
           Laparoscopic Nissen Fundoplication for Recurrent Reflux Esophagitis: A Cost
           Effective Alternative to Omeprazole. Journal of the Society of Laparoscopic
           Surgery 1999; 3: 103-106.

        7. Gerhardt RT, Stewart T, De Lorenzo RA, Gourley EJ, Schreiber MA, McGhee
           JS. Air Medical Transport by a US Army Air Ambulance Unit Under the Military
           Assistance to Safety and Traffic (MAST) Program in El Paso, Texas: A Cross-
           sectional Study and Program Review. Prehospital Emergency Care 2000;4:136-
           143.

        8. Taylor SF, Kopchinski B, Schreiber MA, Singleton L,. Trauma Patient Outcome
           in an Army Deployable Medical Systems Environment Compared with a Medical
           Center. Military Medicine; 2000; 165:867-869.
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     AUDIO PUBLICATIONS
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        3. Schreiber MA. DVT Prophylaxis in TBI, Spine and Solid Organ Injuries.
           AudioDigest General Surgery 68:15 (August 7) 2021.

        4. Schreiber M. An Overview of Walking Blood Banks. AudioDigest General
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        5. Schreiber M. To Transfer or to Operate: Decisions in Rural Trauma Care.
           Audio Digest General Surgery 68:21 (November 7) 2021.

     POSTER PRESENTATIONS

        1. Watters JM, Muller PJ, Differding JA, Schreiber MA, A Single Bolus of 3.5%
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           Uncontrolled Hemorrhagic Shock - Presented at 2004 Advanced Technology
           Applications for Combat Casualty Care 2004

        2. Malinoski DJ, Slater MS, Schreiber MA, Mullins RS. A CPK of 20,000 is a
           Sensitive Predictor of Myoglobinuric Renal Failure after Traumatic
           Rhabdomyolysis - Presented at the 62nd meeting of The American Association
           for the Surgery of Trauma. 2003

        3. Brundage SI, Schreiber MA, Holcomb JB, Zautke NA, Mastrangelo MA, Xu
           XQ, Macaitis JM, Tweardy DJ. Recombinant Activated VII for Adjunctive
           Hemorrhage Control Reduces Nuclear Factor Kappa Beta Activation in a
           Hypothermic Coagulopathic Swine Model of Uncontrolled Hemorrhagic Shock –
           Presented at the Twenty-Fifth Annual Conference on Shock. 2003

        4. Todd SR, Malinoski D, Schreiber MA. Lactated Ringer’s is Superior to Normal
           Saline in Uncontrolled Hemorrhagic Shock - Presented at the Twenty-Fifth
           Annual Conference on Shock. 2003

        5. Brundage SI, Schreiber MA, Mastrangelo MA, Holcomb JB, Macaitis JM,
           Moreno CE, Tweardy DJ, Increased Magnitude of Shock in a Swine Model of
           Uncontrolled Hmorrhage Results in Increased Liver Damage and Local IL-6 and
           G-CSF Production – Presented at the Twenty-Fifth Annual Conference on Shock
           2002
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        6. Scott BG, Holcomb JB, Hess JR, Schreiber MA, Hudson KL, Wall MJ, Age of
           Packed Red Blood Cells did not Affect Mortality of Trauma Patients – Presented
           at The Southwest Surgical Congress May, 2001

        7. Dorlac WC, Holcomb JB, Fagan SP, Kwong KL, Schreiber MA, Moore FA,
           Mattox KL, Exsanguination from Isolated Civilian Extremity Injuries – Presented
           at The Southwest Surgical Congress May, 2001

        8. Aoki N, Scott BG, Holcomb JB, Zupan B, Demsar J, Schreiber MA, Brundage
           SI, Persse D, Beck JR, Wall MJ, Mattox KL, Prehospital Prognostic Factors for
           Patients with Penetrating Injury. Presented at The Southwest Surgical Congress
           May, 2001

        9. Schreiber MA, Holcomb JB, Brundage SI, Maciatis JM, Tweardy D, Hedner U,
           Hoots K. The Effect of rFVIIa on Coagulopathic Pigs with Grade V Liver
           Injuries. Presented at the 6th Novo Nordisk Symposium on the Treatment of
           Bleeding and Thrombotic Disorders Copenhagen, Denmark May, 2001

        10. Schreiber MA, Charles NC, Kopchinski B, Stewart T, Aoki N. The Effect of
            Urokinase on Bleeding and the Coagulation Cascade in a Pig Liver Injury Model.

        11. Presented at the 2001 International Society of Thrombosis and Haemostasis
            Paris, France July, 2001

        12. Schreiber MA, Brill S, Stewart TR, Base Deficit is a Poor Predictor of Lactic
            Acidosis and Mortality in Critically Ill Patients – Presented at the Michael E.
            DeBakey International Surgical Society 2000

        13. Tyroch A, Kaups K, Lorenzo M, Solis D, Schreiber M, Routine Chest
            Radiographs are Not Indicated After Open Tracheostomy: A Multi-Center
            Perspective – Presented at the American Association for the Surgery of Trauma
            2000

        14. Schreiber MA, Charles NC, Kopchinski B, Stewart T, The Effect of Urokinase
            on Bleeding and the Coagulation Cascade in a Pig Liver Injury Model - Presented
            at the American Association for the Surgery of Trauma 1999

        15. Hardaway RM, Kwong KL, Schreiber MA, William C, A New Treatment for
            Acute Respiratory Failure - Presented at The American College of Surgeons Fall
            Meeting 1998

        16. Schreiber MA, Pusateri AE, Veit BC, Smiley RA, Morrison CA, Harris RA,
            Timing of Vaccination Does not Affect Antibody Response or Survival Following
            Pneumococcal Challenge in Splenectomized Rats – Presented at the American
            Association for the Surgery of Trauma 1997
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     CLINICAL PRESENTATIONS

        1. Hemorrhagic Complications of Central Venous Catheterization - Presented at the
           10th Annual Gary P. Written Surgical Symposium Tacoma, WA 1988

        2. Penetrating Neck Trauma on Mount Rainier-Seattle Surgical Society 1995

        3. Complimentary Use of Peritoneal Lavage and CT in the Management of Blunt
           Abdominal Trauma - Presented at the Pacific Coast Surgical Association
           Scientific Program 1996

        4. Effect of Pre-peritoneal and Intra-peritoneal Insufflation on Femoral Venous Flow
           - Presented at the Washington State Chapter Meeting of the ACS 1996

        5. Abdominal Compartment Syndrome - R. E. Thomason Hospital Trauma Grand
           Rounds, El Paso, Texas 1998

        6. Penetrating Neck Trauma - Providence Memorial Hospital Trauma Grand
           Rounds, El Paso, Texas 1998

        7. Cost Effective Evaluation of the Abdomen in Blunt Trauma - 4th Annual Army
           Symposium on Trauma, San Antonio, TX 1998

        8. Cost Effective Evaluation of the Abdomen in Blunt Trauma - Ben Taub General
           Hospital Grand Rounds 1998

        9. MAST Services in El Paso: A Retrospective Analysis and Comparison to the
           Major Trauma Outcome Study, Current - Winner Army Trauma Competition at
           Gary Wratten Symposium 1998

        10. Hyperchloremic Metabolic Acidosis in the Critically Ill Trauma Patient, Current -
            Presented At Gary Wratten Symposium 1998

        11. The Effect of Tricare on a Surgical Residency Program - Presented at Gary
            Wratten Symposium 1998

        12. Substernal Goiter: Is Operative Management Mandatory? -Winner 3rd Place in
            Resident Competition at the 1998 Southern Medical Association Meeting The
            Effect of Urokinase on Bleeding and the Coagulation Cascade in a Pig Liver
            Injury Model - 2nd Place Army Trauma Competition, Gary Wratten Symposium
            1999

        13. Cost Effective Evaluation of the Abdomen in Blunt Trauma - University of Utah
            Trauma Conference 1999
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        14. Damage Control Surgery, Physiologic Considerations - Baylor College of
            Medicine Anesthesia Grand Rounds 1999

        15. Damage Control Surgery, Physiologic Considerations - William Beaumont Army
            Medical Center Multidisciplinary Trauma Conference 1999

        16. Damage Control Surgery, Physiologic Considerations – Baylor College of
            Medicine Surgery Grand Rounds 2000

        17. Trauma at Ben Taub – Hermann Hospital Trauma Development Day 2000

        18. Abdominal Compartment Syndrome – William Beaumont Army Medical Center
            Multidisciplinary Trauma Conference 2000

        19. Abdominal Compartment Syndrome – Ben Taub General Hospital
            Multidisciplinary Trauma Conference 2000

        20. Tackling Trauma Transfers – Trauma Care 2000, Warwick Hotel, Houston, TX
            September 2000

        21. Recombinant Factor VIIa: A Novel Approach to Hemorrhage Control, Advanced
            Technology Applications to Combat Casualty Care, Ft Walton Beach, FL
            September 2000

        22. Damage Control Surgery, Physiologic Considerations – University of California
            San Francisco at Fresno Surgical Grand Rounds, Fresno, CA November 2000

        23. Determinants of Mortality in Patients with Severe Blunt Head Injury – Michael E.
            Debakey International Surgical Society, Houston, TX. November 2000

        24. The Effects of Urokinase on Bleeding and the Coagulation Cascade in a Pig Liver
            Injury Model – Michael E. DeBakey International Surgical Society, Houston, TX.
            November 2000

        25. Determinants of Mortality in Patients with Severe Blunt Head Injury – Eastern
            Association for the Surgery of Trauma, Tampa Bay, FL January 2001. Firearms in
            the US and at Ben Taub – Million Moms March, Greater Houston Area Chapter,
            Houston, TX March 2001

        26. Modulation of the Coagulation Cascade in Trauma Patients – Oregon Health
            Sciences University Surgical Grand Rounds, Portland, OR May 2001

        27. Base Deficit Does not Predict Mortality when it Secondary to Hyperchloremic
            Acidosis – The Shock Society, Marco Island, FL June 2001
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        28. The Effect of Recombinant Factor VIIa on Non-Coagulopathic Pigs with Grade V
            Liver Injuries – International Society on Thrombosis and Haemostasis, Paris,
            France July 2001

        29. The Effect of Recombinant Factor VIIa on Coagulopathic Pigs with Grade V
            Liver Injuries – Advanced Technology Applications to Combat Casualty Care, Ft
            Walton Beach, FL September 2001

        30. Diversion: A Necessity for Survival – The Harris County Hospital District
            Annual Trauma Workshop, Houston, TX October 2001

        31. Adult Respiratory Distress Syndrome – Rio Grande Trauma Conference &
            Pediatric Trauma Update III, El Paso, TX November 2001

        32. Military Trauma Training Performed in a Civilian Trauma Center – Association
            for Academic Surgery, Milwaukee, WI November 2001

        33. The Effect of Recombinant Factor VIIa on Coagulopathic Pigs with Grade V
            Liver Injuries - Eastern Association for the Surgery of Trauma, Orlando, FL
            January 2002

        34. Modulation of the Coagulation Cascade in Trauma Patients – 13th Annual
            Northwest states Trauma Conference, Bend, OR April 2002

        35. Adult Respiratory Distress Syndrome – Oregon Health Sciences University
            Surgical Grand Rounds, Portland, OR October 2002

        36. Modulation of the Coagulation Cascade in ICU Patients – 29th Annual Oregon
            Chapter of the Society of Critical Care Medicine Critical Care Symposium,
            Portland, OR November 2002

        37. Management of the Severely Injured – 34th Annual Family Practice Review,
            Portland, OR February 2003

        38. Modulation of the Coagulation Cascade in Trauma Patients - Grand Rounds,
            Brooke Army Medical Center, San Antonio, TX June 2003

        39. Future Directions: Managing Anemia in the Surgical Patient - 39th Annual
            Meeting Oregon Chapter American College of Surgeons, Sunriver, OR September
            2003

        40. Modulation of the Coagulation Cascade - Grand Rounds, University of California
            San Francisco - East Bay, Oakland, CA October 2003

        41. Abdominal Compartment Syndrome - 30th Annual Critical Care Symposium,
            Portland, OR October 2003
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        42. Resuscitation of Uncontrolled Hemorrhagic Shock - Anesthesia Grand Rounds,
            Oregon Health & Science University, Portland, OR January 2004

        43. Management of the Severely Injured - 35th Annual Family Practice Review,
            Portland, OR February 2004

        44. Recombinant Factor VIIa, Uses in Trauma - 33rd Critical Care Congress of the
            Society of Critical Care Medicine, Orlando, FL February 2004

        45. Initial Resuscitation of the Trauma Patient, Hemoglobin Substitutes - 15th Annual
            Trauma Conference Harborview Medical Center, Seattle, WA March 2004

        46. Resuscitation Pearls – 15th Annual Northwest States Trauma Conference,
            Sunriver, OR April 2004

        47. Novel Methods of Hemorrhage Control – 15th Annual Northwest States Trauma,
            Conference, Sunriver, OR April 2004

        48. Modulation of the Coagulation Cascade - Grand Rounds, University of Texas
            Houston, TX May 2004

        49. Hypercoagulability is Most Prevalent Early after Injury and in Females -
            American Association for the Surgery of Trauma Maui, Hawaii October 2004

        50. Resuscitation in 2004: Are We Doing it the Right Way? 2nd Annual Directors'
            Forum Maui, Hawaii October 2004

        51. Catastrophic Bleeding. The American Red Cross Portland, OR October 2004

        52. What's New in Resuscitation?, Novel Methods of Hemorrhage Control and Adult
            Respiratory Distress Syndrome in the Trauma Patient. Portneuf Trauma and
            Emergency Care Conference Pocatello, Idaho October 2004

        53. Lactated Ringer's is Superior to Normal Saline for the Resuscitation of
            Hemorrhagic Shock - Grand Rounds, Oregon Health & Science University
            December 2004

        54. Modulation of the Coagulation Cascade in Trauma Patients. St. Charles Medical
            Center Trauma Conference. Bend, Oregon January 2005.

        55. Management of the Severely Injured - 36th Annual Family Practice Review,
            Portland, OR February 2005

        56. Modulation of the Coagulation Cascade. Marin General Hospital Trauma
            Conference. Marin, California March 2005
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        57. An OHSU Surgeon Goes To War. 23rd Annual Northwest Winter Conference in
            Emergency Medicine. Sunriver, Oregon January 2006

        58. Hemoglobin-Based Oxygen Carrier (HBOC) Use in Neurotrauma Care. Invited
            Discussant. Eastern Association for the Surgery of Trauma. Orlando, Florida
            January 2006

        59. Control of Hemorrhage: It Pays to be Aggressive. 17th Annual Northwest States
            Trauma Conference. Sunriver, Oregon April 2006

        60. The Iraqi Experience. 17th Annual Northwest States Trauma Conference.
            Sunriver, Oregon April 2006

        61. Medical Care in Operation Iraqi Freedom III. Trauma Conference. Santa Rosa,
            CA June 2006

        62. Medical Care in Operation Iraqi Freedom III. Surgical grand Rounds, Providence
            St. Vincent Medical Center. Portland, Oregon August 2006

        63. Potential Benefits of Ketamine as a Battlefield Anesthetic. Advanced Technology
            Applications for Combat Casualty Care. St. Petersburg, Florida August 2006

        64. Predictors of Massive Transfusion in Combat Casualties. Advanced Technology
            Applications for Combat Casualty Care. St. Petersburg, Florida August 2006

        65. Airway Pressure Release Ventilation. Trends in Respiratory & Acute Care.
            Troutdale, Oregon September 2006.

        66. Hemostasis in Military Casualties. Second Thrombin Symposium. Challenges in
           Surgical Hemostasis. Seattle, Washington September 2006.

        67. Postmortem Computed Tomography (CATopsy) Predicts Cause of Death in
            Trauma Patients. Invited Discussant. American Association for the Surgery of
            Trauma. New Orleans, Louisiana September 2006.

        68. Early vs. Late Recombinant Factor VIIa Usage in Trauma patients Requiring
            Massive Transfusion in Combat Support Hospitals. American Association for the
            Surgery of Trauma. New Orleans, Louisiana September 2006.

        69. Early Coagulopathy after Traumatic Brain Injury: The Role of Hypoperfusion
            and the Protein C Pathway. Invited Discussant. American Association for the
            Surgery of Trauma. New Orleans, Louisiana September 2006.

        70. Induction of Profound Hypothermia Improves Survival in a Swine Model of
            complex Vascular, Splenic, and coonic Injuries, without an Increase in Bleeding
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           and Septic Complications. Invited Discussant. American College of Surgeons.
           Chicago, Illinois October 2006.

        71. Comparison of Prolonged Hypotensive and Normotensive Resuscitation
            Strategies in a Porcine Model of Hemorrhagic Shock. Invited Discussant.
            American College of Surgeons. Chicago, Illinois October 2006.

        72. Mesenteric Ischemia. American College of Surgeons. Chicago, Illinois October
            2006.

        73. Fluids and Their Effects on Hemostasis. American College of Surgeons.
            Chicago, Illinois October 2006.

        74. Is Hypothermia after Major Injury Protective or Harmful? American College of
            Surgeons. Chicago, Illinois October 2006.

        75. Medical Care in Operation Iraqi Freedom III. Portland Surgical Society.
            Portland, Oregon October 2006

        76. Modulation of Coagulation. Trauma conference, Albany General Hospital.
            Albany, Oregon November 2006

        77. Care of Patients in Operation Iraqi Freedom III. Thirty-third Annual Critical Care
            Symposium. Portland, Oregon November 2006

        78. A Reserve Surgeon Goes to War. Annual Training Conference, 6th Medical
            Recruiting Battalion. Las Vegas, Nevada December 2006

        79. Medical Care in Operation Iraqi Freedom III. Internal Medicine Grand Rounds,
            Oregon Health & Science University. Portland, Oregon January 2007

        80. Endotoxin tolerance in Sepsis: Concentration Dependent Augmentation or
            Inhibition of LPWS-Stimulated Macrophage TNF Secretion by LPS Pretreatment.
            Invited Discussant. Eastern Association for the Surgery of Trauma. Fort Myers,
            Florida January 2007

        81. Fibrin Sealants. Extremity War Injuries II. Washington DC, January 2007.

        82. Novel Methods of Hemorrhage Control. 24th Annual Northwest Winter
            Conference in Emergency Medicine. Sunriver, OR, January 2007.

        83. Novel Methods of Hemorrhage Control. Vascular Conference. Oregon Health &
            Science University, Portland, Oregon February 2007.

        84. Resuscitation and Systemic Hemorrhage Control. 45th Critical Care, Trauma and
            Emergency Medicine Symposium, Las Vegas, NV February 2007.
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        85. Emergent Hemorrhage Control. 45th Critical Care, Trauma and Emergency
            Medicine Symposium, Las Vegas, NV February 2007.

        86. Lessons Learned from Operation Iraqi Freedom III. 45th Critical Care, Trauma
            and Emergency Medicine Symposium, Las Vegas, NV February 2007.

        87. The Abdominal Compartment Syndrome. 45th Critical Care, Trauma and
            Emergency Medicine Symposium, Las Vegas, NV February 2007.

        88. Lessons Learned from Operation Iraqi Freedom III. Josephine County Medical
            Society Dinner, Grants Pass, Oregon May 2007.

        89. Assessing the Medical Resource Needs of Combat Support Hospitals. Advanced
            Technology Applications for Combat Casualty Care, St. Petersburg, Florida
            August 2007.

        90. Characterization of a novel Fibrinogen Hemostatic Agent in Animal Injury
            Models. Advanced Technology Applications for Combat Casualty Care, St.
            Petersburg, Florida August 2007.

        91. Invited Discussant: Causes of Death and Injury Severity in Operation Iraqi
            Freedom and Operation Enduring Freedom: 2003-2004 vs. 2006. Advanced
            Technology Applications for Combat Casualty Care, St. Petersburg, Florida
            August 2007.

        92. Invited Discussant: Blood Product Effect on Survival for Patients with Combat
            Related Injuries. Advanced Technology Applications for Combat Casualty Care,
            St. Petersburg, Florida August 2007.

        93. Research: Questions and Answers from Academic Trauma Surgeons. American
            Association for the Surgery of Trauma, Las Vegas, NV September 2007.

        94. Optimal Resuscitation Endpoints. American College of Surgeons. New Orleans,
            LA October 2007.

        95. Invited Discussant: Induced Hypothermia is Associated with Improved Outcomes
            in Porcine Hemorrhagic Shock. American College of Surgeons. New Orleans,
            LA October 2007.

        96. Closure of Paper. Management and Outcome of Pneumatosis Intestinalis. North
            Pacific Surgical Association. Victoria, British Columbia. November 2007.

        97. Permissive Hypotension, Fluid Resuscitation and Coagulopathies in the Trauma
            Patient. Kadlec Hospital Grand Rounds. Richland, Washington. December
            2007.
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        98. Lessons Learned in the War on Terror. East Bay Surgical Society. Walnut
            Creek, California. February 2008.

        99. The Effect of Fluid on Coagulation. Highland Hospital Surgical Grand Rounds.
            Oakland, California February 2008.


        100.       The Use of Leukoreduced Blood does not Reduce Infection, Organ
           Failure, or Mortality Following Trauma. Senior Discussant. Pacific Coast
           Surgical Association, 79th Meeting. San Diego, California February 2008.

        101.      Is There a Role for Aggressive use of Fresh Frozen Plasma in Massive
           Transfusion of Civilian Trauma Patients? Invited Discussant. Southwestern
           Surgical Congress. Acapulco, Mexico April 2008.

        102.     Ongoing Medical Advances in the War on Terror. Northwest States
           Trauma Conference. Bend, Oregon April 2008.

        103.      Blood Transfusions: Kindness or Murder. Northwest States Trauma
           Conference. Bend, Oregon April 2008.

        104.     Good Drugs Gone Bad! Antithrombotic Agents and Their Reversal in
           Trauma. Adding Insult to Injury: The Role of Chronic Conditions in Acute
           Trauma Care. Billings, Montana May 2008.

        105.      Fluid Modulates Coagulation after Trauma. Adding Insult to Injury: The
           Role of Chronic Conditions in Acute Trauma Care. Billings, Montana May
           2008.

        106.     Medical Advances Made in the War on Terror. Billings Clinic Grand
           Rounds. Billings, Montana May 2008.

        107.     Fibrin Sealants to Stop Bleeding in Surgery. American College of
           Surgeons 94th Annual Congress. San Francisco, California October 2008.

        108.      Modern Control of Hemorrhage. Balboa Naval Hospital Grand Rounds.
           San Diego, California January 2009.

        109.      The Use of Lyophilized Plasma for Resuscitation in a Swine Model of
           Resuscitation. 80th Annual Meeting of the Pacific Coast Surgical Association.
           San Francisco, California February 2009.

        110.      A Simplified Set of Trauma Triage Criteria Safely Reduces Over-Triage:
           A Prospective Study. Invited Discussant. 80th Annual Meeting of the Pacific
           Coast Surgical Association. San Francisco, California February 2009.
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        111.      Admission Ionized Calcium Levels Prdict the Need for Multiple
           Transfusions: A Prospective Study of 591 Critically-Ill Trauma Patients. Invited
           Discussant. American Association for the Surgery of Trauma. Pittsburgh,
           Pennsylvania October 2009.

        112.      Activated Recombinant Factor VIIa Reduces Repeated Operations for
           Hemorrhage Following Major Abdominal Surgery. Invited Discussant. 80th
           Annual Meeting of the Pacific Coast Surgical Association. San Francisco,
           California February 2009.

        113.     Progress with New Formulations of Lyophilized Plasma. Advanced
           Technology Applications for Combat Casualty Care, St. Petersburg, Florida
           August 2009.

        114.     New Hemostatic Agents to Control Bleeding; Meet the Expert Luncheon.
           American College of Surgeons, Chicago, Illinois October 2009

        115.      Surgical Resident Perceptions of Trauma Surgery as a Specialty. Invited
           Discussant. American College of Surgeons, Chicago, Illinois October 2009

        116.    Resuscitation of Hemorrhagic Shock in 2009. Detroit Trauma
           Symposium. Detroit, Michigan November 2009

        117.       Modern Methods of Hemorrhage Control. Detroit Trauma Symposium.
           Detroit, Michigan November 2009

        118.     Splenectomy May Lead to a Persistent Hypercoagulable State after
           Trauma. North Pacific Surgical Association. Portland, OR November 2009

        119.    How Bad is Blood? 36th Annual Critical Care Symposium. Portland, OR
           November 2009.

        120.     Normal Saline. Prehospital Fluid Conference. Dallas, Texas January
           2010.

        121.      Ethanol Consumption Increases Serum Testosterone in Healthy
           Volunteers. Pacific Coast Surgical Association. Maui, Hawaii February 2010.

        122.      The Impact of ABO-Identical Versus ABO-Compatible, Nonidentical
           Plasma Transfusion in Trauma Patients. (Invited Discussant) Pacific Coast
           Surgical Association. Maui, Hawaii February 2010.

        123.     Indications for and Risks of Pre-thawed Fresh Frozen Plasma. 8th World
           Congress on Trauma, Shock, Inflammation and Sepsis. Munich, Germany March
           2010.
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         124.      The Use of the Wittmann Patch Facilitates a High Rate of Fascial Closure
            in Severely Injured Trauma Patients and Critically Ill Surgery Patients. 8th World
            Congress on Trauma, Shock, Inflammation and Sepsis. Munich, Germany March
            2010.

         125.     Point of Care Diagnostics for Assessment of Acute Coagulopathy. 8th
            World Congress on Trauma, Shock, Inflammation and Sepsis. Munich, Germany
            March 2010.

         126.     Necrotizing Fasciitis. Trauma, Critical Care & Acute Care Surgery 2010.
            Las Vegas, Nevada March 2010.

         127.       Blood Volume Repletion is Optimally Performed in the ICU. Trauma,
            Critical Care & Acute Care Surgery 2010. Las Vegas, Nevada March 2010.

         128.     The Effects of Systemic Trauma on Coagulation. Trans Agency
            Coagulopathy in Trauma Workshop. National Institutes of Health. Bethesda,
            Maryland April 2010.

         129.      The Joint Theater Trauma System. CENTCOM Surgeon’s Conference.
            Qatar June 2010.

         130.      Blood Transfusions, Kindness or Murder. Grand Rounds Craig Joint
            Theater Hospital. Bagram, Afghanistan July 2010.

         131.     Joint Theater Trauma System, Applications to Civilian Systems. 96th
            Annual Congress of the American College of Surgeons. Washington DC,
            October 2010.

         132.     The Joint Theater Trauma System. Vancouver General Hospital Trauma
            Rounds. Vancouver, Washington December 2010.

         133.      Systemic Hemostatic Agents – Non-FDA Approved Uses. Public
            Workshop: Product Development Program for Interventions in Severe Bleeding
            Due to Trauma or Other Causes. FDA, Bethesda, Maryland December 2010.

         134.     Acute Coagulopathy of Trauma. Combat Trauma Innovation. London,
            England January 2011.

         135.     Pro-Coagulant Hemostatic Agents. Combat Trauma Innovation. London,
            England January 2011.

         136.     Damage Control Resuscitation – Plasma and Plasma Products. London,
            England January 2011.
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         137.      Colon Injuries, What Would Ogilvie Say in 2011. Eastern Association for
            the Surgery of Trauma. Naples, Florida January 2011.

         138.      Splenic Injuries – Is it Time for Conservative Management in Theater?
            Eastern Association for the Surgery of Trauma. Naples, Florida January 2011.

         139.     Point:Counter Point – Operative Fixation of Flail Chest and Rib Fractures.
            Western Trauma Associaiton. Big Sky, Montana March 2011.

         140.       Joint Theater Trauma System and the Blood Bank – 39th Annual Meeting
            of the Society of Armed Forces Medical Laboratory Scientists, Armed Services
            Blood Program Update. New Orleans, Louisiana March 2011.

         141.       Make it Stick: Coagulopathy Management 2011 and the Future. Trauma,
            Critical Care & Acute Care Surgery 2011. Las Vegas, Nevada April 2011.

         142.     Norma Saline: Is it Safe? Trauma, Critical Care & Acute Care Surgery
            2011. Las Vegas, Nevada April 2011.

         143.     Normal Saline Versus Lactated Ringer’s: Would the FDA Approve
            Normal Saline for Use in 2011? University of Texas Grand Rounds. Houston,
            TX May 2011.

         144.      The Joint Theater Trauma System – Washington, Oregon American
            College of Surgeons Chapter Meeting. Chelan, Washington June 2011

         145.      The Joint Theater Trauma System and How 9/11 Influenced It. 9/11 Ten
            Years Later. What Have We Learned? New York University, New York, New
            York. September 2011.

         146.      Blast Injuries: From the Field to the ICU, What You Need to Know.
            9/11 Ten Years Later. What Have We Learned? New York University, New
            York, New York. September 2011.

         147.       Controversies Concerning the Use of Fresh Whole Blood in the Military
            Setting. 22nd International Congress of the Israel Society of Anesthesiologists.
            Tel Aviv, Israel. September 2011.

         148.     Conflicts in Iraq and Afghanistan: Lessons Learned. 22nd International
            Congress of the Israel Society of Anesthesiologists. Tel Aviv, Israel. September
            2011.

         149.      Blood Transfusions: The Rules Have Changed. 97th Annual American
            College of Surgeons Clinical Congress. San Francisco, California. October 2011.
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         150.      What is Lyophilized Plasma? 97th Annual American College of Surgeons
            Clinical Congress. San Francisco, California. October 2011.

         151.      Novel Methods of Hemorrhage Control. 3rd Annual Southwest Trauma &
            Acute Care Symposium. Scottsdale, Arizona. November 2011.

         152.     Novel Blood Products for Treatment of Hemorrhagic Shock 3rd Annual
            Southwest Trauma & Acute Care Symposium. Scottsdale, Arizona. November
            2011.

         153.      The Acute Coagulopathy of Trauma, Diagnosis and Treatment. Trauma
            Care 2011. Columbus, Ohio. November 2011.

         154.      What is the Difference Between Trauma Centers? Appropriate Triage of
            Trauma Patients. Trauma Care 2011. Columbus, Ohio. November 2011.

         155.     The Year in Combat. Eastern Association for the Surgery of Trauma.
            Orlando, FL. January 2012.

         156.     The Current Status of Hemostatic Dressings. Combat Trauma Innovation
            2012. London, England. January 2012.

         157.     The Acute Coagulopathy of Trauma and its Treatment in 2012. Combat
            Trauma Innovation 2012. London, England. January 2012.

         158.      Lyophilized Plasma: Coming to a Hospital Near You. Combat Trauma
            Innovation 2012. London, England. January 2012.

         159.       Dilutional Coagulopathy, How to Measure and How to Correct. 41st
            Critical Care Congress. Houston, Texas. February 2012.

         160.     Low Volume Fluid Resuscitation. Prehospital Trauma Symposium.
            Harborview Medical Center. Seattle, Washington. February 2012.

         161.      The Acute Coagulopathy of Trauma: Pathophysiology, Diagnosis and
            Novel Treatments. University of Maryland, Department of Surgery and Division
            of Trauma Grand Rounds. Baltimore, Maryland. February 2012.

         162.      Disasters Lessons Learned in the War on Terror. Trauma, Critical Care &
            Acute Care Surgery 2012. Las Vegas, Nevada. March 2012.

         163.     Resuscitation Redefined. Trauma, Critical Care & Acute Care Surgery
            2012. Las Vegas, Nevada. March 2012.

         164.      Blast Injuries from Battlefield to ICU. Trauma, Critical Care & Acute
            Care Surgery 2012. Las Vegas, Nevada. March 2012.
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         165.      Lactaed Ringers versus Normal Saline for the Resuscitation of
            Hemorrhagic Shock. Current Topics in Trauma Care 2012. Midland, Texas,
            April 2012

         166.    The Use of Lyophilized Plasma in a Multi-injury Pig Model. Remote
            Damage Control Resuscitation. Bergen, Norway, June 2012.

         167.    Near Infrared Spectroscopy: Clinical and Research Uses. Remote
            Damage Control Resuscitation. Bergen, Norway, June 2012.

         168.      The Way Forward in Resuscitation Research. FDA Workshop on Benefits
            and Risks of Hydroxyethyl Starch for Resuscitation. Bethesda, Maryland.
            September 2012.

         169.      The Joint Theater Trauma System, The Greatest Trauma System Ever
            Created. Trauma Center Association of America. Charleston, South Carolina.
            October 2012.

         170.      Modern Methods of Hemorrhage Control, 2012 and Forward. Trauma
            Center Association of America. Charleston, South Carolina. October 2012.

         171.      Hypotensive Resuscitation; Death of Another Sacred Cow. American
            Heart Association. Los Angeles, CA. November 2012.

         172.     The Acute Coagulopathy of Trauma. West Virginia University
            Department of Surgery Grand Rounds. Morgantown, West Virginia. November
            2012.

         173.      The Joint Theater Trauma System, The Greatest Trauma System Ever
            Created. OPALS Prehospital Research Group Meeting. Ottawa, Canada.
            November 2012.

         174.     Hypotensive Resuscitation, Progress Report from the Resuscitation
            Outcomes Consortium. OPALS Prehospital Group Meeting. Ottawa, Canada.
            November 2012.

         175.      Initial Management of the Trauma Patient. Trauma & Emergency
            Surgery. American Austrian Foundation. Salzburg, Austria. January 2013.

         176.     Considerations in Penetrating Trauma. Trauma & Emergency Surgery.
            American Austrian Foundation. Salzburg, Austria. January 2013.

         177.      Damage Control Surgery. Trauma & Emergency Surgery. American
            Austrian Foundation. Salzburg, Austria. January 2013.
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         178.      The Joint Theater Trauma System, The Greatest Trauma System Ever
            Created. February in Phoenix Trauma Symposium. February 2013.

         179.    Blast Injury: What You Need to Know. February in Phoenix Trauma
            Symposium. Phoenix, Arizona February 2013.

         180.     Frozen Deglycerolized Red Blood Cells are Superior to Standard Liquid
            Red Blood Cells. Transfusion 2013. Phoenix, Arizona March 2013.

         181.      The Joint Theater Trauma System, The Greatest Trauma System Ever
            Created. Arkansas Trauma Conference. Little Rock, Arkansas April 2013

         182.       Modern Methods of Hemorrhage Control. Arkansas Trauma Conference.
            Little Rock, Arkansas April 2013

         183.       Major Venous Injuries Should Always be Repaired. Austin Trauma &
            Critical Care Conference. Austin, Texas May 2013

         184.      Topical Hemostatic Agents. Austin Trauma & Critical Care Conference.
            Austin, Texas May 2013

         185.      Novel Blood Transfusion Strategies. John Paul Pryor Oration, University
            of Pennsylvania. Philadelphia, Pennsylvania June 2013

         186.     Novel Methods of Hemorrhage Control. University of Pennsylvania
            Trauma Grand Rounds. Philadelphia, Pennsylvania June 2013

         187.     Resuscitation 2013. World Trauma Symposium. Las Vegas, Nevada
            September 2013

         188.     Modern Methods of Hemorrhage Control. World Trauma Symposium.
            Las Vegas, Nevada September 2013

         189.     Adjunctive Therapy for Coagulopathy is Superior. Trauma Quality
            Improvement Conference. Reno, Nevada November 2013

         190.     The Use of Thrombelastography to Guide Treatment of Coagulopathy.
            Thrombelastography Symposium. Moscow, Russia November 2013

         191.     Blood Transfusions 2014. Burlington Northern Visiting Lectureship in
            Trauma. University of Texas Southwestern Medical Center. Dallas, Texas.
            December 2013.

         192.      Enoxaparin “Tis is Better to Miss a Dose or Never to Have Started it at
            All?” Trauma, Critical Care & Acute Care Surgery 2014. Las Vegas, Nevada.
            March 2014. Presented from Shank, Afghanistan.
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         193.      PCC and Fibrinogen, Better Than Plasma? Trauma, Critical Care & Acute
            Care Surgery 2014. Las Vegas, Nevada. March 2014. Presented from Shank,
            Afghanistan.

         194.       Management of Coagulopathy in Trauma – What Do We Know and What
            is in Store? Critical Care Summer Session. University of California San Diego.
            San Diego, California. July 2014.

         195.      Novel Blood Transfusion Strategies. 2nd Annual Richard B. Fratianne
            Endowed Lectureship in Trauma. MetroHealth Medical Center, Department of
            Surgery Case Western Reserve University. Cleveland, Ohio. July 2014.

         196.      A Controlled Resuscitation Strategy is Feasible and Safe in Hypotensive
            Trauma Patients: Results of a Prospective Randomized Pilot Trial. Military
            Health Systems Research Symposium. Fort Lauderdale, Florida. August 2014.

         197.      A Controlled Resuscitation Strategy is Feasible and Safe in Hypotensive
            Trauma Patients: Results of a Prospective Randomized Pilot Trial. American
            Association for the Surgery of Trauma. Philadelphia, Pennsylvania. September
            2014.

         198.      Is There a TEM Parameter Cut Off That Could Be Used To Withhold
            Transfusion of Blood Product? Consensus Conference on TEM Based
            Transfusion Guidelines for Early Trauma Resuscitation. Philadelphia,
            Pennsylvania. September 2014.

         199.     Innovative Approaches to Hemorrhagic Shock. SEAHEC 26th Annual
            Trauma & Emergency Symposium. Wilmington, North Carolina. February 2015.

         200.     Damage Control Resuscitation. University of British Columbia Grand
            Rounds. Vancouver, British Columbia. February 2015.

         201.       Frozen Deglycerolized Red Blood Cells are Safe and Effective in Trauma
            Patients. American Surgical Association. San Diego, California, April 2015.

         202.      Frozen as Fresh Red Blood Cells for Remote Damage Control
            Resuscitation. Trauma, Hemostasis & Oxygenation Research Conference.
            Bergen, Norway. June 2015.

         203.      When and How Should Tranexamic Acid be Given in the Prehospital
            Environment? Resuscitation. Trauma, Hemostasis & Oxygenation Research
            Conference. Bergen, Norway. June 2015.
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         204.       The Advantages of Dried Plasma for Use in Austere Conditions.
            International Plasma Fractionation Association. Stellenbosch, South Africa.
            December 2015.

         205.       Lessons from the Battlefield: How Military Trauma Care Transforms
            Civilian Care in the United States. Marquam Hill Lecture Series. Portland, OR.
            February 2016.

         206.     Blood Transfusions: A Frontier We Have Just Begun to Explore.
            Laerdahl Memorial Award Lecture. Society of Critical Care Medicine. Orlando,
            FL. February 2016.

         207.     Blood Transfusions 2016. Swiss Army Day. Bern, Switzerland. March
            2016.

         208.      Blood Transfusions: An Old Therapy with Exciting New Frontiers. Duke
            University Department of Surgery Grand Rounds. October 2016.

         209.     Damage Control Resuscitation. International Society of Blood Therapies.
            Copenhagen, Denmark. June 2017.

         210.      Blood Component Therapy and Major Trauma Transfusion. Combined
            US Army and Qatari Military Trauma Casualty Care Seminar. Doha, Qatar.
            February 2018.

         211.      Novel Blood Products Now and Into the Future. R. Arnold Griswold MD
            Lectureship. Louisville, Kentucky. March 2019.

         212.     TXA Randomized Comparative Trial Data Review from OHSU. Trauma,
            Hemostasis & Oxygenation Research. Bergen, Norway. June 2019.

         213.    Prehospital Tranexamic Acid for Use in TBI. Tranexamic Acid in Trauma
            Symposium. Melbourne, Australia. July 2019.

         214.      Dosing of Enoxaparin, Do We Know What We Are Doing. International
            Association for Trauma and Intensive Care. Krakow, Poland. August 2019.

         215.       A Randomized Trial Comparing Two Doses of TXA to Placebo in
            Patients with Moderate to Severe Traumatic Brain Injury. Royal London Hospital
            Trauma Masters Course. London, England. September 2019.

         216.     The History of Blood Transfusion: Where Have We Been and Where are
            We Going? John Ryan Lectureship, Virginia Mason Hospital. Seattle,
            Washington. September 2019.
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         217.      Whole Blood Transfusion in Trauma. Mae Fae Yung University. Chiang
            Rai Thailand. November 2019.

         218.      Blood Transfusion, Where Have We Been and Where are We Going.
            Royal Perth University Grand Rounds. Perth, Australia. November 2019

         219.      Stem Cells in Trauma. Western Australia Trauma Symposium. Perth,
            Australia. Perth Australia. November 2019.

         220.     Tranexamic Acid for Traumatic Brain Injury. Western Australia Trauma
            Symosium. Perth, Australia. November 2019.

         221.     Stem Cells in Trauma. 12th Annual Founders’ Basic Science Lecture.
            Western Trauma Association. Sun Valley, Idaho February 2020.

         222.      Stem Cells in Trauma, the Dawn of a New Era. 3rd Annual Kenneth L.
            Mattox Annual Lecture. Baylor College of Medicine. Houston, TX February
            2021.
         223.      Adjuncts to Massive Transfusion. Shock Society. Toronto, Canada May
            2022.
         224.      Tranexamic Acid for Traumatic Brain Injury. Chichely Hall, England.
            July 2022.
         225.      From Frogs to Boots on the Ground and Beyond. 24th Anthony R. Curreri
            Distinguished Surgical Lecture. Walter Reed Military Medical Center. January
            2023.
         226.      Walking Blood Banks. SWAN Conference. Sydney, Australia. March
            2023.
         227.      Damage Control Resuscitation. SWAN Conference. Sydney, Australia.
            March 2023.
         228.      Best Management Principles for Jehovah Witnesses. SWAN Conference.
            Sydney, Australia. March 2023
         229.      Chains of Survival in Trauma. Singapore Trauma and Acute Care
            Conference. Singapore. October 2023
         230.      Lessons Learned in the War on Terror. Singapore Trauma and Acute Care
            Conference. Singapore. October 2023
         231.      Top 3 Predictions for the Future of Trauma. Singapore Trauma and Acute
            Care Conference. Singapore. October 2023


      SECTION EDITOR

            1. Batig TS, Batig AL. Obstetric Trauma and Surgical Emergencies in the
               Military Operational Environment. Curr Trauma Rep. 2018; 4:1-8.

            2. Bhattacharya, B., Pei, K., Lui, F. et al. Caring for the Geriatric Combat
               Veteran at the Veteran Affairs Hospital. Curr Trauma Rep 2017; 3: 62-68.
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            3. Eastridge BJ. Injuries to the Abdomen from Explosion. Curr Trauma Rep.
               2017; 3: 69-74.

            4. Plackett TP. Performance Improvement in Combat Casualty CareCurr Trauma
               Rep. 2018; 4: 71-76.

            5. Kuckelman J, Cuadrado D, Martin M. Thoracic Trauma: a Combat and
               Military Perspective.Curr Trauma Rep. 2018; 4: 77-87.

            6. Kuckelman J, Derickson M, Long, WB, et al. MASCAL Management from
               Baghdad to Boston: Top Ten Lessons Learned from Modern Military and
               Civilian MASCAL Events. Curr Trauma Rep. 2018; 4: 138

            7. Gurney JM, Holcomb JB. Blood Transfusion from the Military’s Standpoint:
               Making Last Century’s Standard Possible Today. Curr Trauma Rep. 2017; 3:
               144-155.

            8. Walker P, Bozzay J, Bell R, et al. Traumatic Brain Injury in Combat
               Casualties.Curr Trauma Rep. 2018; 4: 149-159.

            9. Davis BL, Martin, MJ, Schreiber M. Military Resuscitation: Lessons from
               Recent Battlefield Experience.Curr Trauma Rep. 2017; 3: 156-163.

            10. Mendoza J, Mallari-Ramos P, Thoren K, et al. Interventional Radiology in the
                Combat Environment. Curr Trauma Rep. 2017; 3: 249-256.

            11. Yun HC, Blyth DM, Murray CK. Infectious Complications After Battlefield
                Injuries: Epidemiology, Prevention, and Treatment. Curr Trauma Rep. 2017;
                3: 315-323.

      TEXTBOOK EDITOR

            1. Feliciano DV, Mattox KL, Moore EE, Alam HB, Ball CG, Inaba K, Kozar R,
               Livingston DH, Schreiber MA. Trauma. McGraw Hill. NY, NY. 2020




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                                                                                     Department of Surgery
      CASES IN WHICH DR. MARTIN SCHREIBER PARTICIPATED                               Division of Trauma, Critical Care &
                                                                                     Acute Care Surgery
      AS A WITNESS, 2019 - 2023
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      2023                                                                           3181 S.W. Sam Jackson Park Rd.
                                                                                     Portland, OR 97239
      McAfee v. IHC Health, et al.                                                   Martin A. Schreiber, MD, FACS


      Rocky Mountain Gun Owners, et. al. v. The Town of Superior, et al.
      Court System: U.S. District Court for the District of Colorado
      Civil Action No. 1:22-cv-02680-NYW-SKC

      National Association for Gun Rights v. City of Highland Park, Illinois,        schreibm@ohsu.edu

      Court System: U.S. District Court for the Northern District of Illinois,
      Eastern Division
      Case No. 1:22-cv-04774

      Grant v. Lamont
      Court System: U.S. District Court, District of Connecticut
      Case No. 3:22-CV-01223


      2022
      Cutberto Viramontes, et al. v. Cook County, et al
      Court System: U.S. District Court for the Northern District of Illinois,
      Eastern Division
      Case Number: 21 CV 4595

      Jones v The Regents of the University of California, et al.
      Court System: Superior Court of California, County of Oregon
      Case No: 30202201255972CUMMCJC

      Jorge Mata, et al vs Kavita Kalra, et al
      Court System: Circuit Court for Baltimore City - Civil System
      Case No: 24C21000799

      Durst, Lisa, et al. v Dimensions Health Corporation, et al
      Court System: Circuit Court for Prince George's County - Civil System
      Case No: CAL20-12015

      Martin Mendoza v Dignity Health, et al
      Court System: Superior Court of Arizona - Maricopa County
      Case No: CV2021-002097


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      Linda Marie Bowen – Provided opinion
      Chaston v. RCH Alexander
      Court System: Multnomah County Circuit Court
      Case No: 19CV01550

      Jackson Memorial Hospital in Miami, FL – Asked by institution to review
      quality of care


      2021
      Fritz – Did not go to trial

      Babcock v. Legacy Emanuel Hospital & Health Center, et al.
      Court System: Multnomah County Circuit Court
      Case No: 21CV20733

      Bauer v. Norfleet
      Court System: Cook County Circuit Court – Illinois
      Case No: 2017-L-010460

      Williams – Did not go to trial

      Roy Shaw vs. OSF Healthcare System d/b/a St. Francis Medical Center,
      The Peoria Surgical Group, Ltd.
      Court System: Peoria County Court – Illinois
      Case No: 20-L-00171

      Hulda Stebbins vs. OSF Healthcare System, Robin Alley, MD
      Court System: Peoria County Court – Illinois
      Case No: 20-L-00177


      2020
      Miller/Kristina M. Hull (closed case, no official case name available)
      Court System: Clallam District Court II
      Case No: 1A0509632

      Martindale v Indiana University Health, et al
      Court System: US District Court – Southern District of Indiana,
      Indianapolis Division
      Case No: 1:19-cv-00513-RLY-DML

      Schiffbauer v OSF Healthcare System, et al
                                                                               2
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      Court System: Cook County Circuit Court – Illinois
      Case No: 2020L001298

      John Sandstrom v Salem Health et al
      Court System: Multnomah County Circuit Court
      Case No: 19CV02923

      Kelly White v Providence Health & Services – Oregon; et al
      Court System: Multnomah County Circuit Court
      Case No: 18CV19321

      Nadrau v Bax MD
      Court System: Spokane County Superior Court
      Case No: 17-2-02562-8


      2019
      Gordon vs Reading Hospital and Medical Center, Wayne C Devos, MD,
      Frank M Carter, MD, Berks Colorectal Surgical Associates
      Court System: Berks County Court of Common Pleas
      Case No: 12-17768

      Welborn vs Sarah Bush Lincoln Health Center, et al
      Court System: Coles County Circuit Court
      Case No: 2016-L-8

      Tatham vs Hualapai Mountain Medical Center LLC, Hualapai Emergency
      Partners PLLC and Bruce K Adams, MD
      Court System: Superior Court of Arizona - Maricopa County
      Case No: CV2012-005215

      Izenberg v. Scottsdale Hospital, et al
      Court System: Superior Court of Arizona - Maricopa County
      Case No: CV2010-000915

      Vasily Kobel vs. City of Portland, James Botaitis, Steven Wuthrich, and
      DOES 1-10
      Court System: United States District Court for the District of Oregon
      Case No: CV-08-986-KI

      Hale v OSF Healthcare System, et al
      Court System: Peoria County Court – Illinois
      Case No: 17-L-7



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      Dametria Hartage vs Mark Zweban, MD and Delaware Cardiovascular
      Associates and Wilmington Hospital/Christiana Care Health Services.
      Court System: Superior Court of the State of Delaware – New Castle
      County
      Case No: N18C-06-005-CEB

      Barbara Henry v PeaceHealth Southwest Medical Center – Did not go to
      trial
      Knutson v Erdman, et al
      Court System: Superior Court of Washington – Kittitas County
      Case No: 18-2-00115-6

      Sharp v. OSF Healthcare System, et al
      Court System: Peoria County Court – Illinois
      Case No: 17-L-316




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